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                             UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF NEW YORK



In re Terrorist Attacks on September 11, 2001           As relates to: 03 MDL 1570 (GBD)(SN)

  Robert Aasheim;
  Anthony Abbatangelo;
                                                        Civil Docket Number:
  Dawn Abbatangelo;
  Michael Abramowitz;
  Julia Abreu;
                                                        SHORT FORM COMPLAINT AND
  Peter Abreu;                                          DEMAND FOR TRIAL BY JURY
  Orlando Abreus;
  Joseph Abruzzino;                                     ECF CASE
  William Abruzzino;
  Aiman Abusharia;
  Glen Jacobs, as administrator of the Estate of
  William Actu, deceased, and individually;
  Kayode Adeleye;
  Sherifat Adeleye;
  Anthony Agnelli;
  Joao Agostinho;
  Odette Agosthino;
  Daisy Agostini;
  Luis Agostini;
  Jacqueline Aguece;
  Brian Ahearn;
  Debra Ahearn;
  Patrick Ahearn;
  Irshad Ahmad;
  Alauddin Ahmed;
  Stephen Aiwerioghene;
  Joseph Alabre;
  Marie Alabre;
  Joseph Albanese;
  Leonard Albanese, as administrator of the Estate of
  Josephine Albanese, deceased, and individually;
  Joseph Alberti;
  Jose Alfonso;
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Susan Alford, as administrator of the Estate of
Robert Alford, deceased, and individually;
Ahmed Aljuhaim;
John Allcot;
Kathleen Allcot;
David Allen;
Richard D. Allen;
Beth Dawn Alongis;
Ronald Alongis;
Christopher Altieri;
Karen Alvaranga;
Emmanuel Amilo;
Carlo Amoroso;
Evelyn Amoroso;
George Andrusyshyn;
Patricia Angst;
Patrick Angst;
Hector Anguita;
Lisa Annunziato;
Venturo A. Annunziato;
Althea Appleton;
George Aprile;
Anibal Saul Apunte;
Vijay Aranha;
Enzo Ardovini;
Susan Ardovini;
Jemay Arias;
Deborah Arifi;
Shefki Arifi;
Thomas Arlotta;
John Armento;
Lisa Armento;
Donna Armour;
William Armour;
Alexandra Armstead;
Kennith Armstead;
Christine Arniotis;
Stephen S. Aroesty;
Cynthia Ashburn;
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John Ashburn, Sr.;
Jane Assael;
James F. Atkinson;
Annie Xu, as administrator of the Estate of Chi Fai
Au Yeung, deceased, and individually;
Joann Avallone;
Valentino Avallone;
Gloria Avila;
Julio Aviles;
Angelo Ayala;
Muhammad Ayaz;
Irene Azzinari;
Robert Azzinari, Sr.;
Phil Bachman;
Marleny Baglio;
Robert Baglio;
Patrick J. Bahnken;
Margery Baker;
Gerard Ward, as administrator of the Estate of
Lennard Ballah, deceased, and individually;
Dorothy Ballantyne, as administrator of the Estate
of John Ballantyne, deceased, and individually;
Scott Ballard;
Mark Banfitch;
John Banzer;
Susan Banzer ;
John Barca;
Furnace W. Barnes;
Ivery Barnes;
Luis Barrezueta;
Giuseppe Barrile;
Maria Barrile;
Paul Barrueto;
Elizabeth Barry;
Raymond Barry;
Brian Bartichek;
Laurie Bartichek;
Oren Barzilay;
Toni A. Batiancela;
Jonathan E. Beale;
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Esselyn Beckford;
Nancy Belardo;
Betty Bendelson;
Steven Bendelson;
Luis M. Benitez;
Althea Benjamin;
Fitzroy Benjamin;
Ofer Benlulu;
Cynthia Bentsen;
Thomas Bentsen;
Allen Berge;
Donna Berge;
Mor Berger;
John Bergman;
Jacob Berkowitz;
Jason Bernstein;
Benjamin Berry;
Lisa Bertone;
Towana Bess;
Hilda Betances;
John Bettineschi;
Michael J. Biehl;
Susan Biehl;
Frederick Biehle;
Jasmine Bielic-Frasco ;
Denise Bizzaro;
Joseph Bizzaro;
Patrick Blaine;
Jeffrey Blaustein;
Ann Blihar;
Stephen Blihar;
Greg Blume, as administrator of the Estate of Arthur
Blume, deceased, and individually;
Joan Blume;
Harry Bogdos, as administrator of the Estate of Joan
Bogdos, deceased, and individually;
Angel Bones;
Caroline Bonnen;
Diane Bonventre;
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Frank Bonventre;
Ashwar Boodlal;
Ivan Borbon;
Josephine Borda;
Stephen Borda;
Nancy Borja;
Steven Borkowsky;
Tamaira Borkowsky;
Michael Borseso;
Nadja Borseso;
Denise Borst;
John Borst;
Marcus Bostick;
Elizabeth Bouhall;
Eric Bouhall;
Anthony Bove;
Gerard Bowden;
Enis Boyer;
Daniel Boyle;
Melanie Boyle;
Sandra Braga-Alfonso;
Donna Brancato;
Joseph Brancato;
Betty Ann Brennan;
Timothy T. Brennan;
Stanley G. Brinson;
Steven Brocato;
Victoria Brodsky;
Anthony Brooks;
Helene Broska;
James Bross;
Kristine Bross;
Lavinia Broughton;
Cathy Brown;
Nellie Brown;
Richard Brown;
Sylvester Brown;
Virginia Brown;
Marianne Bruno;
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Irvine Bryer;
Michelle Bryer;
Eric Brys-Wilson;
Jessica Brys-Wilson;
Denise Bundza;
Greg Bundza;
Camille Buonanno-Albanese;
Thomas Burke;
Charles Burkell;
Mary Jo Burkell;
Virdree Burns;
Christopher Busillo;
Lisa Busillo;
Derek Butler;
Amy Butts;
Raul Cabanas;
Charles Cable;
Michael Wagoner, as administrator of the Estate of
Gloria Cable, deceased, and individually;
Carolann Cahill;
John Cahill;
Shawn Cahill;
Yin Cahill;
Vincent Caianiello;
Carol Calabro;
Gaetano Calabro;
Joseph Caldwell;
Cynthia Ford-Calhoun, as administrator of the
Estate of Willie Calhoun, decreased and
individually;
Alfred Calvano;
Patricia Calvano;
Michele Calvo Ortiz;
John Campanelli;
Valerie Campanelli;
Susan Campbell, as administrator of the Estate of
Michael Campbell, deceased, and individually;
Robert Campos;
Joseph Canestro;
Laura Canestro;
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Pamela Cantres;
Elizabeth Capone;
Joseph Capone;
Doris Cappola;
Anabel Carcana;
Kathleen Cardella;
Victor Cardella;
Juan Cardona;
Arthur Carlson;
Crisenzia Carlson;
Charles Carlton;
Suzanne Carlton;
Paul Robert Carpentier;
Kesha Carra;
Steven Carra;
Amelia Carrasco;
Pedro Carrasco;
Linda Casaccio, as administrator of the Estate of
Robert Casaccio, deceased, and individually;
Michael T. Cassidy;
Thomas Cassino;
Yvonne Castellano;
Charles Castelluccio;
Dora Castillo;
Jason Castillo;
Michael Cavaluzzi;
Pauline Cay;
John Celentano;
Joseph Cendagorta;
Recep Cengizkan;
Raymond Censoprano;
Robert Cerrito;
Theresa Cerrito;
Christian Chamberlain;
Danielle Chamberlain;
Larry Chambers;
Cesar Chamoula;
Renee Chamoula;
Luk Mui Chan, as administrator of the Estate of
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Chun Chan, deceased, and individually;
Kam Bor Yan Chan;
Lee S. Chan;
Yuk L. Chan, as administrator of the Estate of Oi
Sum Chan, deceased, and individually;
Ting Hung Chan;
William S. Chan;
Dallas Chang;
Margarita Charles, as administrator of the Estate of
Francis Charles, deceased, and individually;
Michael T. Charles;
Frank J. Chatonda;
Paulina Chaves;
Chew M. Cheah;
Hok Ming Chan, as administrator of the Estate of
Qiu Tao Chen, deceased, and individually;
Yan Y. Chen;
Anna Cheng;
Joe Cherubin;
Alvin Chichester;
Florence Chichester;
Judy Chien;
Pui Yin Chin;
Wai C. Chiu;
Matthew Chmielewski, as administrator of the
Estate of Zenona Chmielewski, deceased and
individually;
Eric Ciambra;
Santo F. Ciccarello;
Susan Cicchetti, as administrator of the Estate of
Richard Cicchetti, deceased, and individually;
Peter Ciccotto;
Graziano Cillo;
Melissa Cillo;
Lydia Cinquemani;
Thomas Cinquemani;
Thomas Ciuccio;
Charles Clark;
Norma Clarke;
Guy Clemente;
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David Jewell, as administrator of the Estate of
Daniel Cohen Benitez, deceased, and individually;
Janet Cole-Russell;
Jodie Cole-Schwartz;
Madeline Coles;
Miladys Collado;
Jesus S. Collazo;
Milagros Collazo;
James Collentine;
Edward Collins;
Elizabeth Collins;
Kendall Collins;
Virginia Collins, as administrator of the Estate of
Mark Collins, deceased, and individually;
Seymour Collins;
Tracey Collins;
Ruth Colon;
Ann Marie Colonnello;
Mike Colonnello;
Dennis Compton;
Shari Compton;
Agueda Concepcion;
Denise Connolly;
William Connolly;
Marquita Slaughter-Cook, as administrator of the
Estate of Howard Cook, Jr, deceased, and
individually;
David G. Cooper;
Susan H. Cooper;
Carol Coppola;
Jerry Coppola;
Laurice Corbett;
Evelyn Cordero;
Jose M. Cordero;
Donald Corkery;
Emilio Corona;
Louis Correa;
Maria Correa;
Tamara Correa-Pilgrim;
Carrie Costa;
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Richard Costa;
Joseph Costella;
Paula Costella;
Jerome Coston;
James Cotty;
Janene Cotty;
Kerri Courtney;
Nathan Coward;
Pamela Cox;
Wayne Cox;
Judith Coyne, as administrator of the Estate of
Ronald Coyne, deceased, and individually;
Gary Crayton;
Bernard Creaven;
Raymond Creede;
Jacqueline Crespo;
Jorge Crespo;
Enrico Crisafi;
Benita Cristian;
Juan Cristian;
Lorenza Cropsey;
Robert Cropsey;
George T. Crowell;
Terry Crump;
James R. Crupi;
Ernie Cruz;
Joshua Cruz;
Robert Cuccio;
Angela Cucinello;
James Cucinello;
Anthony Cucuzza;
Arlene Cucuzza;
Barbara Cunningham;
Robert S. Cunningham;
Larry Cutrone;
Jill Cycon;
Robert Cycon;
Armand Dahan;
Anthony Dalelio;
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Albert D'Alessandro;
Eileen Daly;
James Daly;
Joseph Damiano;
Joseph Darcy;
Finna Jones-Scott, as administrator of the Estate of
Pamela Dargan, deceased, and individually;
Nita Datadeen;
Shivkumar Datadeen;
Christina Daus, as administrator of the Estate of
George Daus, deceased, and individually;
Jeffery Davie;
Patricia Davilar;
Robin Davilar;
Anthony Davis;
Grace Davis;
Juan L. Davis;
Kenneth Davis;
Patricia Gogarty, as administrator of the Estate of
John Deegan, deceased, and individually;
Grace DeFries;
David DeJesus;
Lisa DeJesus;
John Delaney;
Kevin Delaney;
Teresa Delaney;
Isabel DeLeon;
Joseph Delfino;
Jose Delgado;
Maximina Delgado;
Oscar Delgado;
Dominick DelMastro;
Joseph Delorenzo;
Lori Delorenzo;
Charles L. DelRegno;
Judy DelRegno;
Denise DeMaio;
Michael DeMaio;
Kathy Dennis, as administrator of the Estate of
Robert Dennis, Jr, deceased, and individually;
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Salvatore DeNuccio;
Jorge L. DeOliveira;
Judith DeSocio;
Ralph M. DeSocio;
Brenda DeStephano;
John DeStephano;
Jennie Dexter-O’Neill;
Alexander Diachok;
Jeanne Diachok;
Gregory Diaz;
Maria Diaz;
Joanne DiBella, as administrator of the Estate of
Louis DiBella, deceased, and individually;
Ophline Dillon;
Frank DiMuro;
Kathy Dineen, as administrator of the Estate of
Vincent Dineen, deceased, and individually;
Yigal Dinewitz, as administrator of the Estate of
Isaac Dinewitz, deceased and individually;
Vivian Dinewitz;
Tricia Dini;
Joseph DiPaolo;
Pearl Dipnarine;
Peter A. DiPrima;
David DiSanto;
Karen DiSanto;
Francis Discolo;
Carmel-Ann Ditch;
Robert Ditch;
Pasquale DiTillio;
Barbara Divis;
Brian Divis;
Jacquelyn Dixon;
Hasije Djencic;
Laja Djencic;
Musa Djencic;
Bruce Dobish;
Roxanne Dodds;
Jennifer Dodge-Jurena;
James Dolce;
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Lany Dominguez;
Kenneth Donenfeld;
Sharon Donenfeld;
Yi Tian Dong;
Joseph Dorino;
Marlo Dorino;
Thomas Dorrian;
Oscar Dorta;
Eileen Doyle;
Francine Doyle;
Timothy Doyle;
William Doyle;
Norman Drakeford;
Yvette Drakeford;
Barbara Dressler;
Joseph Dressler;
Alan Dubbs;
Debbie Dubbs;
Robert Duffy;
Virginia Duffy;
Patricia Dufort;
John Dunleavy;
Rita Dunleavy;
Joseph Dunn;
Andrew Eanniello;
Patrick Eanniello;
Gigi Ebron;
Jason Eddy;
Godwin Edebiri;
Cindy Ehlers;
Norm Ehlers;
Matthew Elam;
Leonard Elia;
Dania Eliacin;
Paul Eliacin;
Sandra Ellezam;
Ernest Enea;
John Episcopo;
Joseph Esdaille;
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Camille Esposito;
Salvatore Esposito;
Reginald Evans;
Shirlene Evans;
Willie Evans;
Osa Eweka;
Mariana Fagan, as administrator of the Estate of
Thomas Fagan, deceased, and individually;
John Falcon;
Helene Faltings;
John Faltings;
Darline Fanning;
George Fanning;
Helen Farinella;
Randolph Farinella;
Deirdre Farmer;
Sean Farmer;
Edward Farrell;
Carlos Faulkner;
Ellen Faulkner;
Neil Faulkner;
Arthur Feiler;
John Felidi;
David Feng;
Joseph Fenrich;
Angela Ferrara;
Annette Ferrara;
Fred Ferrara;
Carl A. Ferrigno;
Susan J. Ferrigno;
Chris Fierro;
Jeanette Filipkowski;
Stanley Filipkowski;
Robert Findaro;
Edward Fine;
Maureen Finnegan;
Ray Finnegan;
Charles Fiore;
Gail Fiore;
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Jacqueline Fischler;
Mark I. Fischler;
Gregg Fishman;
Audrey Longley-Fitzpatrick, as administrator of the
Estate of John Fitzpatrick, deceased, and
individually;
Michael Flanagan;
Kevin Flanders, as administrator of the Estate of
Patrick Flanders, deceased, and individually;
Gordana Fleischer;
Rich Fleischer;
Edna Flood;
Paul Fogle;
Anne Foodim;
Kenrich Forbes;
Jason Fourman;
Emilia Francis;
Jeffrey Francis;
Erika Francisco;
Ralph A. Francisco;
Frank Frasco;
Vincent Fratta, as administrator of the Estate of
Agnes Fratta, deceased, and individually;
Clarence Fredericks;
Linda Freeman;
Thomas Freeman;
Sherine Reina, as administrator of the Estate of
Tonia Freeman, deceased, and individually;
Deborah French;
Holly R. French;
Connail Friel;
Fernando Fuentes;
Gladys Fuentes;
Vivian Fuentes;
Anthony Fusaro;
Jackie Fusaro;
Marino Gabrielli;
Michael Galante;
Carol Galdi;
William Galdi;
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John M. Gallagher;
Elizabeth Gallo, as administrator of the Estate of
Anthony Gallo, deceased, and individually;
Ann Gallo, as administrator of the Estate of
Salvatore Gallo, deceased, and individually;
Linda Gallogly, as administrator of the Estate of
Kevin Gallogly, deceased, and individually;
Francis Gambardella;
Anthony Gambino;
Raynier Gamboa;
Debra Garcia;
Isidro Garcia;
Mary Jane Garcia;
Ricardo Garcia;
Roxeanne Garcia ;
Maria Garcia-Shands;
Melinda Garris;
Alexandria Garrity;
Robert Garrity;
Joseph Gaston;
William Gaughan;
Michael Gavin;
Kevin Geary;
Lorraine Geary;
Carl Gelardi;
Frances Gelardi;
Angelo J. Gentile;
Dorothy Gentile;
Paul Gerardi;
Marina Ghin, as administrator of the Estate of Vitali
Ghin, deceased, and individually;
Margarita Gianturco;
Richard Gianturco;
James Gierak;
Beatrice Gifford;
Christopher P. Gifford;
Mary Gigante;
Salvatore Gigante;
Elizabeth Gilliams;
Frank Gilliams;
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Charles D. Ginn;
Joseph Giordano;
Joseph DePasquale, as administrator of the Estate of
Josephine Giordano-DePasquale, deceased, and
individually;
Giovanni Giovanniello;
Joan Giummo;
Carol Glaser;
Michael Glaser;
Craig Glass;
Dawn Glass;
Elizabeth Gleason;
Timothy Gleason;
Doris Godfrey;
Christopher Goehring;
Toni Goehring;
Barbara Goger;
Gerard Goger;
Esther Goldberg;
Paul Goldberger;
Robert Golden;
David Gomez;
Garry Gong, as administrator of the Estate of Gui
Cheng Gong, deceased, and individually;
Min Fang Gong;
Manuel Gonzalez;
Howard Goodman;
Jennifer Goodman;
Moustafa Gouda;
Evaggelos Gountas;
Daysi Gracia, as administrator of the Estate of Pedro
Gracia, deceased, and individually;
Joseph Graham;
Josephine L. Granger;
Christine Granshaw;
Michael Granshaw;
Glenn Grant;
Janet Grant;
Joseph Grant;
Maureen Grant;
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Michael Granville;
Vincent A. Green;
Herbert Greene;
January Drevnak as administrator of the Estate of
Fred Grey, deceased;
Joe Grigas;
David J. Gross;
Jeannette Gross;
Malcom Gross;
Zelda Gross;
Salvatore Grosso;
Yvonne Grosso;
Cary E. Gruber;
Nicole Gruber;
Bonnie Guagliardi;
Peter Guagliardi;
Joseph Guastafeste;
Arthur Gudeon;
Susan Guercio;
Paul Gugliuzzo;
Aliceann Drosihn, as administrator of the Estate of
James Guida, deceased, and individually;
Joseph Gurrieri;
Mary Lou Gurrieri;
Raymond Guttadauria;
Teresa Guttadauria ;
Li Dan Ha, as administrator of the Estate of Danny
S Ha, deceased, and individually;
Robert K. Hall;
Tara Hall;
Vincent Hallinan;
Douglas Hamilton;
Daniele Hanges;
Steven P. Hanges;
James Hanrahan;
Kris Hanrahan;
Rain Haran, as administrator of the Estate of Joseph
Haran, deceased, and individually;
Jan Harasiuk;
Arnold Harbus;
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Celica Harbus;
Arnold Hardman;
Sharon Hardman;
Charles Harris;
Denise Harris;
Theresa Harris;
Valerie Harris;
Ronda Harrison;
Donald Hawkins;
Earnestine Hawkins;
Richard Hayes;
Catherine Healey;
James Healey;
William Heaney;
Leslie Hearne;
James Heavey;
Mary Jane Heavey;
Kathleen Heenan, as administrator of the Estate of
John Heenan, deceased, and individually;
Brian Heffler, as administrator of the Estate of Anna
Louise Heffler, deceased, and individually;
William Hein;
Chet Helms;
Darcia Hemphill;
Milton Hemphill;
David Henao;
Adrian Henderson, as administrator of the Estate of
Pamela Henderson, deceased, and individually;
Pablo Henriquez;
Barrington S. Henry;
Gloria Hernandez;
Michael Hernandez;
Mildred Hernandez;
Susan Herr;
Roberto Herrera;
Margaret Herrick;
Thomas K. Herrick;
Deirdre Hess;
Thomas Hess;
Beth Hettinger;
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Karl Hettinger;
Peter Hickey;
Richard Hickis;
Austria Hidalgo;
Orlando Hidalgo;
Robinson Hidalgo;
Victoria Hidalgo;
Debbie Higgins;
Eric Higgins;
Ronald Higgins;
Libby Hikind;
Cathy Himes ;
Richard Himes;
Heather Hindmarsh;
Yvette Hines;
Erica Hinrichs-Biehle;
Keng Ho;
Mau L. Ho, as administrator of the Estate of Kwan
Ying Ho, deceased, and individually;
Elaine M. Hoare;
Leeanne Holgan;
William Holgan;
Kai Hollesen, as administrator of the Estate of
Jeffrey Hollesen, deceased, and individually;
Lian Holroyd, as administrator of the Estate of
Ernest Holroyd, deceased, and individually;
Morris Howes, as administrator of the Estate of
Angela Howes, deceased, and individually;
Robert Hsu, as administrator of the Estate of
Michael Hsu, deceased, and individually;
William Hucks;
Maureen Hudson;
Stephen Hudson;
James Hughes;
Peter Humann;
Daniel Hunt;
Linda Hunt;
Huu Huynh;
Bari Hyman;
Karen Iacovella;
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Michael Iacovella;
Christopher Ikone;
Kerry Ikone ;
Myong Suk Im;
Catherine Imp;
Raymond Imp;
Alexander Irlin;
Natalya Irlin;
Husne N. Islam;
Mohammad Islam;
Alexander H. Jack, Jr.;
Linda Jack;
Cindy Jacklets;
John Jacklets;
Mark Jacobsen;
Jane N. Jaffe;
Kunjunjamma James;
Mathew James;
Jeffrey Janas;
Linda Janas;
Bee Y. Lin, as administrator of the Estate of Jimmy
Jean, deceased, and individually;
Karlene Jenkins;
Peter Jenkins;
Nina Jody;
Douglas A. John;
Augustine Johnson;
Leroy Johnson;
Paulette Johnson;
Rodney Johnson, Sr.;
Lesley Plaskett as mother and natural guardian of
minor child Avery Jones and individually;
Fred Jones;
Kai Jones;
Rose Jones;
Lawrence Joseph;
Ana Juneau;
Michael Jurena;
Phyllis Jurnove, as administrator of the Estate of
Marc R. Jurnove, deceased, and individually;
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Garrick Justesen;
Toni Justiniano;
Stuart Kall;
Alexandra Kang;
Wendee Kassel-Meaney;
Konstantinos Katechis;
John Katehis;
Debbra Kavanah;
George Kavanah;
Anna Kazina;
Joanne Kearney;
Peter Kearney;
Catherine Keeley;
Mark Keeley;
Maria Kehoe;
William Kehoe;
Jerome Keitel;
John Kelly;
Edward Kennedy;
Francine Kennedy;
Sarah Kessler;
Alfred Khananov;
Inna Khananov;
Jimmy Kilpatric;
Jeffrey Kimmel;
Sean Kinahan;
Susan Kinahan;
Brenda King;
Michael King;
Stanley King;
Donnay M. Kingston;
Ronnie Kirby;
Gwendolyn Kirkland;
Barbara Klein;
Evan Klein;
Jonathan Klein;
Victor Klima;
Arthur Koenemund;
Catherine Konovitch;
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Peter J. Konovitch;
John Kontogianis;
Georgekutty Korah;
Michelle Kozlowski;
Robert Kozlowski;
Patricia Kranglewitz, as administrator of the Estate
of Walter Kranglewitz, deceased, and individually;
Brian Kravetz;
Sandra Kreisberg;
William Kreisberg;
Vitaly Krutoshinskiy;
Kin K. Ku;
Eric Kuczera;
Tara Kuczera;
David Kugler;
Alicia Kuhles;
Hani Kutteh;
John Lagatella;
Lisa Lagatella;
Myungok Lai, as administrator of the Estate of
Simon Lai, deceased, and individually;
Jodi Laino;
Thomas J. Laino;
Patricia Lampe;
Robert Lampe;
Francesca Lanning;
Richard Lanning;
Edwina Lano;
Thomas Lano;
Alyssa Lanot;
Paul Lanot;
Toni Lanotte;
Lori Lash;
Doralba Lassalle-Bones;
Man S. Lau;
Lauren Lau-Loew;
Richard Lawson;
Rebecca A Lazinger;
Yan Yan Chen, as administrator of the Estate of Hoi
Lee, deceased, and individually;
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Richard Lee;
Wai Y. Lee;
Jose Lema;
Sanford LeMoine;
Paul Lemos;
Henry Lent;
Marilyn Lent;
Gerard Leonard;
Jeanie Leonard;
Michael Leonardi;
Enrique D. Leonardo;
Bo Young Leong;
Linchun Leung;
Wing Hong Leung;
Hope Levine;
Antonia Lewis;
Evol Lewis;
Michael Lewis;
Guo N. Li;
Ivy Wang, as administrator of the Estate of Ka Li,
deceased, and individually;
Wan Y. Huang, as administrator of the Estate of
Zhuo Yi Liang deceased, and individually;
Zhuo J. Liao;
David Lieberman;
Jonathan Lilienthal;
Diane Lillibridge ;
John Lillibridge;
Chun Lin;
Ling Lin;
Tao Ping Lin;
Charles J. Linder;
Wendy Linder;
Donald Lindsey;
Faye J. Lindsey;
Jody Lipton;
April Littles;
David Littles;
Charles Littman;
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Siumei Liu, as administrator of the Estate of Herbert
Keechan Liu deceased, and individually;
Michelle Liu;
Sam Liu;
Siumei C. Liu;
Paula LoBono;
Salvatore A. LoBono;
John Locascio;
Gina Loch;
William Loch;
Victoria Lockhart;
Glen Loew;
Anthony Longhitano;
Steven Lopez;
Melanie Lopez-Humann;
Nelson T Lora;
Dennis Lott;
Dwight C. Low;
Stephen M. Low;
George Lowe;
Roxanne Lowe ;
Fernando Loza;
Jia J. Lu;
Matthew Lubrano;
Katherine Terino-Lucev, as administrator of the
Estate of Michael Lucev, deceased, and
individually;
Justina Luna;
Sean Lynch;
Thomas Macchia;
Pedro M. Macias;
Corrine Mack-Dunn ;
Monica Macken-Letizia;
Elizabeth MacKenzie;
Stephen MacKenzie;
Anne L. Maegli;
April Magenta;
Catherine Magenta;
Gino Magenta;
Ralph Magenta;
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Nicholas Maggio;
Kevin Maher;
Richard Maher;
Feng Ying Lei Mai;
Huo Min Mai, as administrator of the Estate of
Hong Jun Mai deceased, and individually;
Alexis Maisonette;
Dennis Majerski;
Keith Major;
Persio Maldonado;
Ellen Malloy;
Peter Malloy;
Beth Malone;
Dennis Malone;
Donald L. Mancinelli;
Rita Mancinelli;
Marilyn Maras;
Jose Marcano;
Rocco Marceda;
Yolanda Marceda;
Robert Marchesano;
Salvatore Marchese;
Marian Marchiano;
Julian Marcinkowski;
Natalie Marcinkowski;
Steven Marcopolos;
Barbara D. Marcus;
Eric Marcus;
Carlo Marietta;
Charles P. Markert;
Shane Markey;
Tracey Marousek;
Jerome Martellaro;
Rosanna Martellaro;
Cheryl Martin;
Cheryl Martin, as administrator of the Estate of
James Martin deceased, and individually;
Matthew Martin;
Patrick Martin;
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Jose Martinez;
Modesto Martinez;
Mirian Martinez-Oliveros;
Thomas J. Marturano;
Bogdan Maslowski;
Daniel Massett;
Walter Masterson;
Israel Matias;
Richard Matos;
Scott B. Matty;
Dana Mauro;
Liberato Mauro;
Erskin Mayers;
Angela Mazzacco;
Steven N. Mazzacco;
Dorothy Mazzarella, as administrator of the Estate
of Louis Mazzarella, deceased, and individually;
Michael Mazziotti;
Brian McAllister;
Eoin McAteer;
James McCarthy ;
Charlene McDaniels;
Warren McDowell;
Maxine McFadzean;
Jodi McGinn, as administrator of the Estate of
Raymond McGinn, deceased, and individually;
William McGirr;
Thomas McGovern;
Martin McGrail;
Patricia McGrath;
Patrick J. McGrath;
Jacqueline McKenzie;
Rohan McKenzie;
Sonia McKenzie ;
Theresa McKenzie;
Leo McKeon;
Stacey McLaughlin;
William McLaughlin;
Ronald Mclean;
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Vivian McLoughlin, as administrator of the Estate
of Kevin McLoughlin, deceased, and individually;
James McNeece;
Maria McQueen, as administrator of the Estate of
Norman McQueen, deceased, and individually;
James A. McVey;
Patrick McVey;
Paul Meaney;
Joseph Medina;
Mariana Medinets;
Donna Meehan;
Michael Meehan;
Peter D. Meehan;
Kathleen Meiggs, as administrator of the Estate of
Willard Meiggs, deceased, and individually;
Mario Mejia;
Kenneth Mekeel;
Bryan Melchionda;
Diana Melendez;
Patrick T. Mellor;
Richard Merli;
Cynthia Merman;
Joseph M. Merwin;
James Metzler;
Brian Michaelson, as administrator of the Estate of
Kristine Michaelson, deceased, and individually;
Eusebia O. Milanes;
Annette Milano;
Alan Miller;
Kurt Miller;
Michael Miller;
Susan Miller;
Teresa Miller;
Zelda Miller;
Lawrence Millus;
Gregory Millwater;
Joseph Minicozzi;
Margarite Miranda;
Perie Miranda;
Carol Mirotznik;
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Anthony Mirra;
Laura Misciagna;
Patrick J. Misciagna;
Dominic Mizio;
Frank M. Moceri;
Francesca Monari;
Luis Montesdeoca;
Martha Montgomery;
Lawrence F. Montrose;
Merry Montrose;
Darren Moonan;
Michael Moonan;
John Moore;
John T. Moore;
Yolanda Moorer-Evans;
Mark Morales;
Vincent Morales;
Charles Moran;
James Moran;
Donald J. Morgan;
Russell Morgan;
Steven Mormino;
Stacey Mornan;
Marcello Morra;
Shawn Morrison;
Khadijah Morrow;
Sabine Morrow;
William Morrow;
Dennis Mosca;
Jeanne Moscardini;
Thomas Moscardini;
Ellen Moschel;
Dorothy Moser, as administrator of the Estate of
Richard Moser deceased, and individually;
Elizabeth Motyka;
Luk Mui-Chan;
John Mule;
Denise Mulholland, as administrator of the Estate of
Douglas Mulholland, deceased, and individually;
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Joseph Mullaney;
Steven J. Mullins;
Juan Munoz;
Daniel Murnane;
Lorraine Murphy;
Thomas Murphy;
Keith Murray;
Deborah Musso;
Richard Musso;
Jennyfer Nagle
John Nagle;
Mansoor Najee-ullah;
Reza Namazi;
Richard Naples;
Ahmed Nasser;
James Nazzaro;
Tyrone Neal;
Carolyn A. Nesmith;
Joseph Nevar;
Cherris Newland;
Leonard Newland;
Harry Neyens;
Gee W. Ngai;
Maggie Ngai, as administrator of the Estate of Poy
King Ngai deceased, and individually;
Sheung Fon Ngai;
Ndingara N. Ngardingabe;
Julio Nieves;
Ricardo Nieves;
Robert Norrington;
Joseph Nunes;
Humberto Nunez;
Louis Obergh, Jr., as administrator of the Estate of
Louis Obergh, Sr. deceased, and individually;
Joan Obergh;
Ellen Ochs;
John Ochs;
Catherine O’Connor;
James O'Connor;
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Joseph O'Farrell;
Lorna O'Farrell;
Kenneth Okvist;
David Olaye;
Robert O'Leary;
Bryan O'Malley;
Elizabeth O’Malley;
John O'Malley;
Timothy O'Neill;
Denis Onieal;
Carol J. Orazem;
Thomas Oreckinto;
Peter Ortega;
Raquel Ortega;
Victor Ortega;
Evelyn Ortiz;
Wilfredo Osorio-Hernandez;
Gary Ostrager, as administrator of the Estate of
Beckie Ostrager, deceased, and individually;
Michael Ostrowski, as administrator of the Estate of
Elizabeth Ostrowski deceased, and individually;
Tadeusz Ostrowski;
John O'Sullivan;
Christopher Owen;
Nelson A. Padilla;
Petra Padilla;
Chris Palmeri;
Rui Qiong Pan;
Judi Panevino;
Vincent Panevino;
Abel Paniagua;
Alexandra Paniagua;
Joseph Papariello;
Joseph J. Parise;
Lydia Parise;
Liliana Parodi;
Michael Partridge;
Maryanne Paruch;
Robert B. Paruch;
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Erica Pascale, as administrator of the Estate of
Christopher Pascale deceased, and individually;
Robert Pastalove;
Joseph A. Pastorino;
Stephanie Pastorino;
Paula Patanella, as administrator of the Estate of
Alexander Patanella, deceased, and individually;
Michael Paternostrao;
Edward Patterson;
Michael Paul;
Lee Pavis;
Kibbie Payne;
Marc Pedevillano;
Zobeida Pedevillano;
Anthony Pellegrini;
Sandra Pellegrini;
Patrice Peltier;
Ilene Peluso;
John Peluso;
Joe Pena;
Manuel Pena;
Virginia Pena;
Marianela Penalvert;
Florence Perchuk;
Neal M. Perchuk;
Manuel Perdomo;
Maurice Pereira;
Bernadette Perez;
Carlos Perez;
Juan Perez;
Roberto Perez;
Manuela Perez-DeJesus;
Frank Perillo;
Melanie Perillo;
Mitradyal Permaul;
Premuattie Permaul;
Raakhee Persaud;
Tirkha Persaud;
Rita Peterson;
   Case 1:17-cv-05471-GBD-SN            Document 1   Filed 07/19/17   Page 33 of 88


Peter Petino;
Antoinette Petruzzello;
Arthur Pettus;
Lenor Pettus;
Cindy Lee Petty;
James R. Petty;
Chona Petzold, as administrator of the Estate of
Mark Petzold., deceased, and individually;
James Phipps;
Joseph M. Pierotti;
Michael Pietropaolo;
Eddie Pinero;
Joseph Pironti;
Kimberly Pironti;
Ann Pisacano;
Grace Pisano, as administrator of the Estate of
Anthony Pisano, Sr., deceased, and individually;
Peter Pisano;
Giovanni Pisciotta;
Lesley Plaskett;
Linda Plemmons;
Robert Plemmons;
Vincent Plotino;
Adrian Podmore;
Frank Podmore;
Edward Polstein;
Patricia Polstein;
Richard Poolt;
William Portela;
Richard Postel;
John Power;
Rachel Powers, as administrator of the Estate of
Kenneth Powers, deceased, and individually;
Anthony Przykuta;
Deborah Przykuta;
Janet Puglisi-Mizio;
Bruno Pugni;
Antonia Puma;
Antonia Puma, as administrator of the Estate of
Pietro Puma, deceased, and individually;
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Kerri Quigley;
Kevin Quinn;
Paul Quinn;
Regina Raab;
Thomas Raab;
Alejandro Rada;
Peter S. Rahaniotis;
Alfredo Ramirez;
Carmen Ramirez;
Arthur Rammairone;
Thomas Rammairone;
Johnny Ramos;
Migdalia Ramos;
Brian V. Ramsaran;
Nadira Ramsaran;
Robert Ransom;
Emil Rapoport;
Adis Raposo, as administrator of the Estate of
Joseph Raposo, deceased, and individually;
She-A Gordon, as administrator of the Estate of
Shari Redmond, deceased, and individually;
Linda Reed;
Rhonda Weinman, as administrator of the Estate of
Arnold Reich, deceased, and individually;
Adele Reilly;
Donald J. Reilly;
James Reilly;
Kevin Reilly;
Vasilios Rembutzias;
Lori Cafiero Rende, as administrator of the Estate of
Mitchell Rende, deceased, and individually;
Frank Rescigno ;
Liset Reyes;
Marisela Reyes;
Harriet Reynolds;
Lori Reynolds, as administrator of the Estate of
William Reynolds, deceased, and individually;
Thomas Rich;
Deborah Richardson;
Michael G. Riggio;
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Nancy Riggio;
Frank Riley;
Dona L. Riley, as administrator of the Estate of
William Riley, deceased, and individually;
Adele Rincon;
Rafael Rincon;
Franklin A. Rivas;
Angela Rivera;
Bruce Rivera;
Ishmael Rivera;
John Rivera;
Marta Rivera;
Robert Rivera;
Danielle Rizzo;
Charles Robbins;
Gerard S. Robedee;
Carol A. Roberson;
Kevin Roberts;
Michael Roberts;
Desiree Robertson;
John C. Robertson;
Tracy Cartwright, as administrator of the Estate of
Paul Roberts, deceased, and individually;
Tracy Robertson, as administrator of the Estate of
Thomas Robertson, deceased, and individually;
Kenneth Robinson;
Francis Roda;
Edward Rodden;
Luz Rodgers;
Carmen Rodriguez;
Elaine Rodriguez;
Guisella Rodriguez;
Jason Rodriguez;
Joseph A. Rodriguez;
Nelson Rodriguez;
Pedro Rodriguez;
Walter Rodriguez;
Julia E. Rodriguez-Rosa;
James Roemer;
Karen Roenelt;
   Case 1:17-cv-05471-GBD-SN            Document 1   Filed 07/19/17   Page 36 of 88


Linda Rogacki, as administrator of the Estate of
Robert Rogacki, deceased, and individually;
James Rogers;
John Rogers;
Wayne Rogers;
Mark Rohan, as administrator of the Estate of
Patricia Rohan, deceased, and individually;
Sandra P. Rojas;
Awilda Roman;
Margarita Roman-Pavis;
Linda Rosa-Benitez;
Luis Rosado;
Mildred Rosado;
Miriam Rosado;
Victor Rosado;
Juana Rosario;
Vilma Rosario;
Edita Rose, as administrator of the Estate of Leo
Rose, deceased, and individually;
Dominick Roselli;
Scot Rosenthal;
Melvin Ross;
Alia Rotavera;
Stephen Rotavera;
Jerome Rothman;
Nick Rotondo;
Sally Rotondo;
Ilene Rubenstein;
Deena Rubin;
Robert Rubin;
Christopher Rueda;
George Ruggi;
Gary Ruinsky;
John Ruis;
Deborah Ruiz;
Jorge L. Ruiz;
David G. Russell;
Heather Russell;
Michael Russell;
John W. Rutherford;
   Case 1:17-cv-05471-GBD-SN           Document 1      Filed 07/19/17   Page 37 of 88


Suzanne Ryan;
Thomas Ryan;
Robert Ryder;
Ximena Saa;
Karen Sachs;
Ann Marie Safaty;
Ira Safaty;
Hector Salon;
Debra Salvia;
Robert Salvia;
Jeff Salzberg;
Merle Samuels;
Salvatore Sanacore;
Dely Sanchez;
Ivonne Sanchez;
Vincent Sanchez;
Deborah Sanders;
Camille T. SanFilippo;
James SanFilippo;
Mohamed Sanoh;
Mysah Sanoh ;
Christopher Santana;
Denise Santangelo;
Edward Santiago;
Luis R. Santiago;
Jose Santos;
Ann Saraceno, as administrator of the Estate of
Frank Saraceno, deceased, and individually;
Dorothy Sarantopoulos;
Nicholas Sarantopoulos;
Michael Sarner;
Xiu Xiang Zeng, as administrator of the Estate of Su
Chung Sat, deceased, and individually;
Joseph Savine;
Eugene Scalercio;
Harold Schell;
Jack Schenker;
Ilise Schnurr;
Lawrence Schnurr;
   Case 1:17-cv-05471-GBD-SN           Document 1   Filed 07/19/17   Page 38 of 88


James Schry;
Suzanne Schry;
Arthur E Schulz;
Alan Schwab;
Jeffrey Schwartz;
Norman Schwartz;
Joan Sciorta;
Salvatore Sciorta;
Vincent Sciulla;
Robert Scott;
Anthony Scotto;
James Screen;
Amerald Sealey, as administrator of the Estate of
Clyde Sealey, deceased, and individually;
Mary Sears;
John Segreto;
Andreas Seifert;
Drue Seigerman;
Renee Selan;
William B. Selan;
Jay Seligman;
Jeannette Shaheen;
Sarah Shaw;
Denis P. Sheridan;
Kevin Shine;
Jenny Shivmangal;
Eric Shlomovich;
Fai Shum;
Timothy Silsby;
Ari Silva;
Nancy M. Silvia-Matthews;
Robert Simanowicz;
Robin Simanowicz;
Daniel Simmons;
Kenneth Simmons;
Robert Simonelli;
Nicole B. Simpson;
Arlene Sinansky;
Bridgnarine Singh;
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Janet Singh;
Laura Skov;
Nilda Sleap;
Thomas Sleap;
David N. Sloan;
Terry A. Small;
Annemarie Smith;
Dane Smith;
Diana Smith;
Edward J. Smith;
Gary J. Smith;
Gerald Smith;
James Smith;
Khadija Smith;
Lee Smith;
Oralis Smith;
Robert A. Smith;
Susan Smith, as administrator of the Estate of
Robert Smith, deceased, and individually;
Stephen Smith;
Tim D. Smith;
Warren Smith;
Machele Snipes;
Rene Sola;
David Solomon;
Robert Soloway;
Pablo Sosa-Hernandez;
Madeline Soto;
Marc Soto;
Nadine Soto;
John Sparacio;
Diana Spatola ;
Michael Spatola;
Daniel Speicher;
Thomas W. Speicher;
Carl Speights;
Anthony Sperrazza;
Arlene Sperrazza;
Anthony Springer;
   Case 1:17-cv-05471-GBD-SN            Document 1   Filed 07/19/17   Page 40 of 88


Edward K. Springer;
Anne Marie Springer-King;
Mark Staniszewski;
Joseph Stefan;
Daniel Stein;
Leon Stein;
Carol Stevens;
Mark Stevens;
Douglas Stewart;
Timothy Stewart;
Toni Stewart;
Wayne Stewart;
Robert Stiles;
Glenford Stowe;
Valerie Straughn-Kall;
Joyce Strongbow;
Mark Sturgis, as administrator of the Estate of
Ingrid Sturgis, deceased, and individually;
Donna Suarez;
Edwin Suarez;
Luis Suarez;
Marisol Suarez;
Dawn Sulmasy;
Warren J. Sulmasy, Jr.;
JoAnne Summa;
Ken Summa;
Judy Surita;
Michael Surita;
Marguerite Switzgable, as administrator of the
Estate of Kimberly Switzgable, deceased, and
individually;
Robert Szczepanik;
Salvatore Tagliarino;
Martha Tapia;
Deborah Taylor;
Gregory Taylor;
Ramkrishna Teeluck;
Michael Tenga;
Nelson Tereso;
Deborah Terruso;
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Douglas Terruso;
Jose Theard;
Marie Anne Theard;
Harold Thomas;
Jesse Thomas;
William Timmes;
Carmen Torres;
Yvonne Torres;
Paul Towber;
Susan Trainor, as administrator of the Estate of
William Trainor, deceased, and individually;
Miguel Trigueno;
Myra Trigueno;
James Triola;
Koscuisko Trisano;
Lawrence M. Troy;
George J. Tsistinas;
Joseph Tubolino;
Nancy Tubolino;
Marion Turi;
Willie Tyler;
Nicholas J. Ugliarolo;
Roni Unger;
Augusto Urena;
Joan Urena;
Joseph Valdivia;
Jennifer Valente;
Michael J. Valente;
Giustino Valenti;
Delma Valera;
Mario Valera;
Toby Pino, as administrator of the Estate of Robert
Valinoti, deceased, and individually;
Olivier Vallez;
Anthony Vanaria;
Michelle Vanaria;
Gerard Vanderberg;
Silvana Vanderberg;
Nancy VanGoethem;
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John VanWie;
Hector Vazquez;
Anthony Vega;
Francisco Velasquez;
Rina Velasquez;
Lisa Velez;
Fernando Ventura;
Thomas Verni;
Edward Victors;
Anna Vinokur;
Charles Voorhies;
Evelyn Vuoso, as administrator of the Estate of
Joseph Vuoso, deceased, and individually;
Willie Wade, as administrator of the Estate of
Angela Wade, deceased, and individually;
Phyllis Walker;
Fred Wallace;
Steve Wallace;
Edmond Walsh;
Jill Walsh;
Matthew Walsh;
Sandra Weekes;
Joseph Wehner;
Deborah Weisenberg;
Peter Weisenberg;
Christopher Weiss;
Howard Weiswasser;
Candice Wellman;
Glen Wessels;
Andre White;
Karen Whitley;
Colleen Wiffler;
Joseph Wiffler;
Kenneth Wilkinson;
Elliot S. Williams Jr.;
Ezra Williams;
Geary Williams;
Glyndoria Williams;
Frank Williams, as administrator of the Estate of
Ingrid Williams, deceased, and individually;
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Joseph Williams;
Louis C. Williams;
Richard Williams;
Vaughn Williams;
Yvette Williams-Taylor;
Lisa Wills, as administrator of the Estate of Gordon
Wills, deceased;
Beverly Wilson;
Elizabeth L. Wilson;
Kyara Wilson;
Martin Wilson;
Mary Wilson ;
Sandra Wilson;
Scott Wilson;
Sonja Wilson;
Matthew Wingender;
Susan Wingender;
Dwaine Winter;
Kerry M. Winter;
Nancy Winter;
Barry Witt;
Mary Ann Witt;
Ruth Witt;
Shirley Wong;
Barbara Wright;
Juan Wright;
Robin Wright;
Suzanne Wright-Ciaccio;
Hoi K. Wu;
SzeKit Wu;
Wendy Wu;
Shrila Yam, as administrator of the Estate of Wu
Kwun Yam, deceased, and individually;
Lai Fong Tung Yam;
Ryan Yanca;
Hau Ting Yang;
Kwok Yau;
Nematollah Yazdi;
Sam M. Yen;
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  Lup M. Yuen;
  Janet Zakel-Metzler;
  Merite Zejnuni;
  May L. Zheng;
  Samantha Zhou, as administrator of the Estate of
  Jian Xiang Zhou, deceased, and individually;
  Samantha Zhou;
  Brian Zipf;
  Rosemary Zipf;
  Phyllis Zito;
  Seth Zukoff;
  Sheely Zukoff;              PLAINTIFFS,


  V.

  KINGDOM OF SAUDI ARABIA; SAUDI HIGH
  COMMISSION FOR RELIEF OF BOSNIA &
  HERZEGOVINA

                             DEFENDANTS




            SHORT FORM COMPLAINT AND DEMAND FOR TRIAL BY JURY

        Plaintiff(s) file(s) this Short Form Complaint and Demand for Trial by Jury against Defendants

named herein by and through the undersigned counsel. Plaintiff(s) incorporate(s) by reference the

specific allegations, as indicated below, of Plaintiffs’ Consolidated Amended Complaint as to the

Kingdom of Saudi Arabia (“Kingdom” or “Saudi Arabia”) and the Saudi High Commission for

Relief of Bosnia & Herzegovina (“the SHC”) and Demand for Jury Trial in In Re: Terrorist Attacks on

September 11, 2001, 03 MDL 1570 in the United States District Court for the Southern District of

NewYork (hereinafter “the CAC”). Plaintiff(s) file(s) this Short Form Complaint and Demand for Jury Trial

as permitted and approved by the Court’s Order of May 3, 2017, ECF No. 3543.
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                                                 VENUE

          1. Venue in this district is proper pursuant to 28 U.S.C. §§ 1391(b)(2) and 1391(f)(1), as a

substantial part of the events giving rise to the claims asserted herein occurred in this district. Venue

is also proper in this district pursuant to 18 U.S.C. § 2334(a).


                                            JURISDICTION

          2. Jurisdiction, is as asserted in the CAC, and further, jurisdiction of the within Short Form

Complaint is premised upon and applicable to all defendants in this action:

                              28 U.S. C. § 1605(a)(5) (non-commercial tort exception)

                              28 U.S. C. § 1605B (Justice against Sponsors of Terrorism Act)

                              Other: (set forth below the basis of any additional ground for
                              jurisdiction and plead such in sufficient detail as per the FRCP):



                                         CAUSES OF ACTION

          3.     Plaintiff(s) hereby adopt(s) and incorporate(s) by reference, the CAC as if set forth fully

herein.

          4. Furthermore, the following claims and allegations are asserted by Plaintiff(s) and are

herein adopted by reference from the CAC:

                              Aiding and Abetting and Conspiring with al Qaeda to Commit the
                              September 11th Attacks Upon the United States in Violation of
                              18 U.S.C. § 2333(d) (JASTA)

                              Aiding and Abetting and Conspiring with al Qaeda to Commit the
                              September 11th Attacks Upon the United States in Violation of
                              18 U.S.C. § 2333(a)

                              Committing Acts of International Terrorism in Violation of 18 U.S.C.
                              § 2333

                              Wrongful Death, as applicable to a claim for such

                              Survival
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                             Alien Tort Claims Act

                             Assault and Battery

                             Conspiracy

                             Aiding and Abetting

                             Intentional Infliction of Emotional Distress

                             Liability Pursuant to Restatement (Second) of Torts § 317 and
                             Restatement (Third) of Agency § 7.05: Supervising Employees and
                             Agents

                             Liability Pursuant to Restatement (Second) of Torts § 317 and
                             Restatement (Third) of Agency § 7.05: Hiring, Selecting, and Retaining
                             Employees and Agents

                             18 U.S.C. § 1962(a)-(d) – CIVIL RICO

                             Trespass

                             Punitive Damages

                             Plaintiff assert(s) the following additional theories and/or Causes of Action
                             against the Defendants:



                               IDENTIFICATION OF PLAINTIFFS

         5. The following allegations and information contained herein, is alleged as to each

individual who is bringing this claim, as indicated on Appendix 1 to this Short Form Complaint, and/or

as to each decedent who was injured and who is now deceased, whose claim is brought by the Estate

representative, and as to the survivors of the Estate, herein referred to as “Plaintiffs.”

             a.   The citizenship/nationality of said Plaintiff is indicated at Appendix 1 to this Short

                  Form complaint.

             b. Said Plaintiff is entitled to recover damages on the causes of action set forth in

                  this Complaint.

             c. As indicated at Appendix 1, said Plaintiff was injured as a result of the terrorist

                  attacks of September 11, 2001; is the estate representative of someone who was
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                 injured as a result of the terrorist attacks of September 11, 2001 and who is now

                 deceased, or is a survivor of someone who was injured as a result of the terrorist

                 attacks of September 11, 2001 and who is now deceased.

            d. For those plaintiffs with injury claims, as indicated in Appendix 1, on or after

                September 11, 2001, said Plaintiff was present at the Pentagon and/or the World Trade

                Center site and/or its surroundings and/or lower Manhattan and/or at an area wherein

                he/she was exposed to toxins as a result of the terrorist attacks and was exposed to

                toxins from the attacks, and/or was otherwise injured, and/or as otherwise alleged: .

            e. As a direct, proximate and foreseeable result of Defendants’ actions or inactions,

                Plaintiff suffered bodily injury and/or death, and consequently economic and other

                losses, including but not limited to pain and suffering, emotional distress,

                psychological injuries, and loss of enjoyment of life, and as otherwise described in the

                CAC, and/or as otherwise may be specified in subsequent discovery proceedings,

                and/or as otherwise alleged herein:                                       .

            f. The name, relationship to the injured 9/11 victim, residency, nationality, and the

                general nature of the claim for each plaintiff is listed on the attached Exhibit 1, and is

                incorporated herein as allegations, with all allegations of the within Short Form

                Complaint deemed alleged as to each plaintiff.

                         IDENTIFICATION OF THE DEFENDANTS

        6. The following entities are Defendants herein:

                            Kingdom of Saudi Arabia

                            Saudi High Commission for Relief of Bosnia & Herzegovina


        Plaintiffs’ constituent case, if applicable, and this Short Form Complaint shall be deemed subject

to any motion to dismiss the CAC or Answer to the CAC filed by Saudi Arabia or the SHC. By way

of filing this Short Form Complaint, plaintiffs shall not be deemed to have adopted any class-action
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allegations set forth in the CAC or waived any right to object to class certification or opt out of any

certified class. This Short Form Complaint also does not serve as a request for exclusion from any class

that the Court may certify.


         WHEREFORE, Plaintiff(s) pray(s) for relief and judgment against Defendants as set forth

 in the CAC as appropriate.

                                            JURY DEMAND

         Plaintiff(s) hereby demand(s) a trial by jury as to the claims in this action.


 Dated: July 18, 2017                                      Respectfully Submitted,


                                                           /s/ Daniel J. Hansen
                                                           Daniel J. Hansen, Esq. (DH0211)
                                                           Turley Hansen & Rosasco, LLP
                                                           3075 Veterans Memorial Highway
                                                           Suite 210
                                                           Ronkonkoma, NY 11779
                                                           Phone: 631-268-0042
                                                           dhansen@911cancerclaim.com



                                                           /s/ Troy G. Rosasco
                                                           Troy G. Rosasco Esq. (TR4942)
                                                           Turley Hansen & Rosasco, LLP
                                                           3075 Veterans Memorial Highway
                                                           Suite 210
                                                           Ronkonkoma, NY 11779
                                                           Phone: 631-268-0042
                                                           trosasco@911cancerclaim.com
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                     APPENDIX 1 TO THE SHORT FORM COMPLAINT

Each line below is deemed an allegation, incorporating the allegations, language and references
within the Short Form Complaint to which this Appendix is appended, and shall be referenced as
Allegation 1 of Appendix 1 to the Short Form Complaint, Allegation 2 of Appendix 1 to the Short
Form Complaint, etc.)

         Plaintiffs Name                      Relationship to     State of     Citizenship /   General Nature
                                              Injured 9/11        residency    Nationality     of Claim
                                              Victim              at time of   on 9/11/01      Asserted
                                                                  filing
1.       Robert Aasheim                              Self            NY             US              PI
2.       Anthony Abbatangelo                         Self            FL             US              PI
3.       Dawn Abbatangelo                          Spouse            FL             US           Solatium
4.       Michael Abramowitz                          Self            FL             US              PI
5.       Julia Abreu                                 Self            NY           US                PI
6.       Peter Abreu                               Spouse            NY           US             Solatium
7.       Orlando Abreus                              Self            FL           US                PI
8.       Joseph Abruzzino                            Self            NY           US                PI
9.       William Abruzzino                           Self            NY           US                PI
10.      Aiman Abusharia                             Self            FL           US                PI
11.      Glen Jacobs, as administrator of         PR/Child           NY          US, US        WD/Solatium
         the Estate of William Actu,
         deceased, and individually
12.      Kayode Adeleye                              Self            NJ           US                PI
13.      Sherifat Adeleye                          Spouse            NJ           US            Solatium
14.      Anthony Agnelli                             Self            FL           US                PI
15.      Joao Agostinho                              Self            NY           US                PI
16.      Odette Agosthino                          Spouse            NY           US            Solatium
17.      Daisy Agostini                            Spouse            FL           US            Solatium
18.      Luis Agostinii                              Self            FL           US                PI
19.      Jacqueline Aguece                           Self            NY           US                PI
20.      Brian Ahearn                                Self            NY           US                PI
21.      Debra Ahearn                              Spouse            NY           US            Solatium
22.      Patrick Ahearn                              Self            NY           US                PI
23.      Irshad Ahmad                                Self            NY           US                PI
24.      Alauddin Ahmed                              Self            NY           US                PI
25.      Stephen Aiwerioghene                        Self            NY           US                PI
26.      Joseph Alabre                               Self            NY           US                PI
27.      Marie Alabre                              Spouse            NY           US            Solatium
28.      Joseph Albanese                             Self            NY           US                PI
29.      Leonard Albanese, as                     PR/Child           NY          US, US        WD, Solatium
         administrator of the Estate of
         Josephine Albanese, deceased,
         and individually
30.      Joseph Alberti                             Self             NY           US                PI
31.      Jose Alfonso                               Self             FL           US                PI
32.      Susan Alford, as administrator of       PR/Spouse           NY          US, US        WD, Solatium
         the Estate of Robert Alford,
         deceased, and individually
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33.      Ahmed Aljuhaim                            Self         MI           US          PI
34.      John Allcot                               Self         NY           US          PI
35.      Kathleen Allcot                         Spouse         NY           US      Solatium
36.      David Allen                               Self         NJ           US          PI
37.      Richard D. Allen                          Self         CA           US          PI
38.      Beth Dawn Alongis                       Spouse         NY           US      Solatium
39.      Ronald Alongis                            Self         NY           US          PI
40.      Christopher Altieri                       Self         NY           US          PI
41.      Karen Alvaranga                         Spouse         NY           US      Solatium
42.      Emmanuel Amilo                            Self         NJ           US          PI
43.      Carlo Amoroso                           Spouse         AZ           US      Solatium
44.      Evelyn Amoroso                            Self         AZ           US          PI
45.      George Andrusyshyn                        Self         MA           US          PI
46.      Patricia Angst                            Self         FL           US          PI
47.      Patrick Angst                           Spouse         FL           US      Solatium
48.      Hector Anguita                            Self         NY           US          PI
49.      Lisa Annunziato                         Spouse         NY           US      Solatium
50.      Venturo A. Annunziato                     Self         NY           US          PI
51.      Althea Appleton                           Self         NY           US          PI
52.      George Aprile                             Self         NY           US          PI
53.      Anibal Saul Apunte                        Self         MD           US          PI
54.      Vijay Aranha                              Self         NY           US          PI
55.      Enzo Ardovini                             Self         FL           US          PI
56.      Susan Ardovini                          Spouse         FL           US      Solatium
57.      Jemay Arias                               Self         NY           US          PI
58.      Deborah Arifi                           Spouse         NY           US      Solatium
59.      Shefki Arifi                              Self         NY           US          PI
60.      Thomas Arlotta                            Self          NY       US             PI
61.      John Armento                              Self          NY       US             PI
62.      Lisa Armento                            Spouse          NY       US         Solatium
63.      Donna Armour                            Spouse          NY       US         Solatium
64.      William Armour                            Self          NY       US             PI
65.      Alexandra Armstead                      Spouse          NY       US         Solatium
66.      Kennith Armstead                          Self          NY       US             PI
67.      Christine Arniotis                        Self          NY       US             PI
68.      Stephen S. Aroesty                        Self          NY       US             PI
69.      Cynthia Ashburn                         Spouse          NY       US         Solatium
70.      John Ashburn, Sr.                         Self          NY       US             PI
71.      Jane Assael                             Spouse          NY       US         Solatium
72.      James F. Atkinson                         Self          PA       US             PI
73.      Annie Xu, as administrator of the      PR/Spouse        NY      US, US     WD, Solatium
         Estate of Chi Fai Au-Yeung,
         deceased, and individually
74.      Joann Avallone                            Self          NY          US          PI
75.      Valentino Avallone                      Spouse          NY          US       Solatium
76.      Gloria Avila                              Self          NY          US          PI
77.      Gloria Avila                            Spouse          NY          US       Solatium
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78.       Julio Aviles                                 Self         NY       US             PI
79.       Angelo Ayala                                 Self         NJ       US             PI
80.       Muhammad Ayaz                                Self         NY       US             PI
81.       Irene Azzinari                             Spouse         NY       US         Solatium
82.       Robert Azzinari, Sr.                         Self         NY       US             PI
83.       Phil Bachman                                 Self         NY       US             PI
84.       Marleny Baglio                             Spouse         NY       US         Solatium
85.       Robert Baglio                                Self         NY       US             PI
86.       Patrick J. Bahnken                           Self         FL       US             PI
87.       Margery Baker                                Self         NY       US             PI
88.       Gerard Ward, as administrator of          PR/Child        NY      US, US     WD, Solatium
          the Estate of Lennard Ballah,
          deceased, and individually
89.       Dorothy Ballantyne, as                   PR/Spouse        NY      US, US     WD, Solatium
          administrator of the Estate of John
          Ballantyne, deceased, and
          individually
90.       Scott Ballard                               Self          NY          US          PI
91.       Mark Banfitch                               Self          NJ          US          PI
92.       John Banzer                                 Self          NY          US          PI
93.       Susan Banzer                              Spouse          NY          US       Solatium
94.       John Barca                                  Self          NY          US          PI
95.       Furnace W. Barnes                           Self          VA          US          PI
96.       Ivery Barnes                              Spouse          VA          US       Solatium
97.       Luis Barrezueta                             Self          NY          US          PI
98.       Giuseppe Barrile                            Self          NY          US          PI
99.       Maria Barrile                             Spouse          NY          US       Solatium
100.      Paul Barrueto                               Self          NJ          US          PI
101.      Elizabeth Barry                           Spouse          NY          US       Solatium
102.      Raymond Barry                               Self          NY          US          PI
103.      Brian Bartichek                             Self          NY          US          PI
104.      Laurie Bartichek                          Spouse          NY          US       Solatium
105.      Oren Barzilay                               Self          PA          US          PI
106.      Toni A. Batiancela                          Self          NY          US          PI
107.      Jonathan E. Beale                           Self          NY          US          PI
108.      Esselyn Beckford                            Self          GA          US          PI
109.      Nancy Belardo                               Self          NJ          US          PI
110.      Betty Bendelson                           Spouse          NY          US       Solatium
111.      Steven Bendelson                            Self          NY          US          PI
112.      Luis M. Benitez                             Self          NJ          US          PI
113.      Althea Benjamin                             Self          FL          US          PI
114.      Fitzroy Benjamin                          Spouse          FL          US       Solatium
115.      Ofer Benlulu                              Spouse          NY          US       Solatium
116.      Cynthia Bentsen                           Spouse          NY          US       Solatium
117.      Thomas Bentsen                              Self          NY          US          PI
118.      Allen Berge                                 Self          NJ          US          PI
119.      Donna Berge                               Spouse          NJ          US       Solatium
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120.      Mor Berger                                 Self        NY        US             PI
121.      John Bergman                               Self        NY        US             PI
122.      Jacob Berkowitz                            Self        NY        US             PI
123.      Jason Bernstein                            Self        NY        US             PI
124.      Benjamin Berry                             Self        NY        US             PI
125.      Lisa Bertone                               Self        NJ        US             PI
126.      Towana Bess                              Spouse        MD        US         Solatium
127.      Hilda Betances                             Self        NY        US             PI
128.      John Bettineschi                           Self        NY        US             PI
129.      Michael J. Biehl                           Self        NC        US             PI
130.      Susan Biehl                              Spouse        NC        US         Solatium
131.      Frederick Biehle                           Self        NY        US             PI
132.      Jasmine Bielic-Frasco                    Spouse        NY        US         Solatium
133.      Denise Bizzaro                           Spouse        NY        US         Solatium
134.      Joseph Bizzaro                             Self        NY        US             PI
135.      Patrick Blaine                             Self        NY        US             PI
136.      Jeffrey Blaustein                          Self        GA        US             PI
137.      Ann Blihar                               Spouse        NC        US         Solatium
138.      Stephen Blihar                             Self        NC        US             PI
139.      Greg Blume, as administrator of         PR/Child       NY       US, US     WD, Solatium
          the Estate of Arthur Blume,
          deceased, and individually
140.      Joan Blume                              Spouse          NY          US      Solatium
141.      Harry Bogdos, as administrator of      PR/Spouse        NY          US     WD, Solatium
          the Estate of Joan Bogdos,
          deceased, and individually
142.      Angel Bones                               Self          NY          US          PI
143.      Caroline Bonnen                           Self          NY          US          PI
144.      Diane Bonventre                         Spouse          NY          US       Solatium
145.      Frank Bonventre                           Self          NY          US          PI
146.      Ashwar Boodlal                            Self          NY          US          PI
147.      Ivan Borbon                               Self          FL          US          PI
148.      Josephine Borda                         Spouse          NY          US       Solatium
149.      Stephen Borda                             Self          NY          US          PI
150.      Nancy Borja                               Self          PR          US          PI
151.      Steven Borkowsky                          Self          NY          US          PI
152.      Tamaira Borkowsky                       Spouse          NY          US       Solatium
153.      Michael Borseso                           Self          FL          US          PI
154.      Nadja Borseso                           Spouse          FL          US       Solatium
155.      Denise Borst                            Spouse          NY          US       Solatium
156.      John Borst                                Self          NY          US          PI
157.      Marcus Bostick                            Self          NY          US          PI
158.      Elizabeth Bouhall                       Spouse          NY          US       Solatium
159.      Eric Bouhall                              Self          NY          US          PI
160.      Anthony Bove                              Self          NY          US          PI
161.      Gerard Bowden                             Self          NY          US          PI
162.      Enis Boyer                                Self          NJ          US          PI
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163.      Daniel Boyle                           Self          NY          US          PI
164.      Melanie Boyle                        Spouse          NY          US      Solatium
165.      Sandra Braga-Alfonso                 Spouse          FL          US      Solatium
166.      Donna Brancato                       Spouse          NY          US      Solatium
167.      Joseph Brancato                        Self          NY          US          PI
168.      Betty Ann Brennan                    Spouse          NY          US      Solatium
169.      Timothy T. Brennan                     Self          NY          US          PI
170.      Stanley G. Brinson                     Self          NJ          US          PI
171.      Steven Brocato                         Self          NY          US          PI
172.      Victoria Brodsky                     Spouse          NY          US      Solatium
173.      Anthony Brooks                         Self          FL          US          PI
174.      Helene Broska                          Self          NJ          US          PI
175.      James Bross                            Self          NY          US          PI
176.      Kristine Bross                       Spouse          NY          US      Solatium
177.      Lavinia Broughton                      Self          NY          US          PI
178.      Cathy Brown                          Spouse          VA          US      Solatium
179.      Nellie Brown                           Self          NY          US          PI
180.      Richard Brown                          Self          VA          US          PI
181.      Sylvester Brown                        Self          NJ          US          PI
182.      Virginia Brown                         Self          NY          US          PI
183.      Marianne Bruno                         Self          NY          US          PI
184.      Irvine Bryer                           Self          GA          US          PI
185.      Michelle Bryer                       Spouse          GA          US      Solatium
186.      Eric Brys-Wilson                       Self          NC          US          PI
187.      Jessica Brys-Wilson                  Spouse          NC          US      Solatium
188.      Denise Bundza                        Spouse          TN          US      Solatium
189.      Greg Bundza                            Self          TN          US          PI
190.      Camille Buonanno-Albanese              Self          NY          US          PI
191.      Thomas Burke                           Self          FL          US          PI
192.      Charles Burkell                        Self          PA          US          PI
193.      Mary Jo Burkell                       Spouse        PA        US         Solatium
194.      Virdree Burns                           Self        NY        US             PI
195.      Christopher Busillo                     Self        NY        US             PI
196.      Lisa Busillo                          Spouse        NY        US         Solatium
197.      Derek Butler                            Self        MD        US             PI
198.      Amy Butts                               Self        NY        US             PI
199.      Raul Cabanas                            Self        NY       Mexico          PI
200.      Charles Cable                         Spouse        FL        US         Solatium
201.      Michael Wagoner, as                  PR/Child       FL       US, US     WD, Solatium
          administrator of the Estate of
          Gloria Cable, deceased, and
          individually
202.      Carolann Cahill                      Spouse          NY          US       Solatium
203.      John Cahill                            Self          NY          US          PI
204.      Shawn Cahill                           Self          NY          US          PI
205.      Yin Cahill                           Spouse          NY          US       Solatium
206.      Vincent Caianiello                     Self          NY          US          PI
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207.      Carol Calabro                             Spouse          NY       US         Solatium
208.      Gaetano Calabro                             Self          NY       US             PI
209.      Joseph Caldwell                             Self          NY       US             PI
210.      Cynthia Ford-Calhoun, as                 PR/Spouse        NY      US, US     WD, Solatium
          administrator of the Estate of
          Willie Calhoun, decreased and
          individually
211.      Alfred Calvano                              Self          FL       US             PI
212.      Patricia Calvano                          Spouse          FL       US         Solatium
213.      Michele Calvo Ortiz                         Self          NY       US             PI
214.      John Campanelli                             Self          CT       US             PI
215.      Valerie Campanelli                        Spouse          CT       US         Solatium
216.      Susan Campbell, as administrator         PR/Spouse        NY      US, US     WD, Solatium
          of the Estate of Michael Campbell,
          deceased, and individually
217.      Robert Campos                               Self         NY           US          PI
218.      Joseph Canestro                             Self         NY           US          PI
219.      Laura Canestro                            Spouse         NY           US       Solatium
220.      Pamela Cantres                              Self         NY           US          PI
221.      Elizabeth Capone                          Spouse         NY           US       Solatium
222.      Joseph Capone                               Self         NY           US          PI
223.      Doris Cappola                               Self         MA           US          PI
224.      Anabel Carcana                              Self         NY           US          PI
225.      Kathleen Cardella                         Spouse         NY           US       Solatium
226.      Victor Cardella                             Self         NY           US          PI
227.      Juan Cardona                                Self         NY           US          PI
228.      Arthur Carlson                              Self         NY        US             PI
229.      Crisenzia Carlson                         Spouse         NY        US          Solatium
230.      Charles Carlton                           Spouse         NC        US          Solatium
231.      Suzanne Carlton                             Self         NC        US             PI
232.      Paul Robert Carpentier                      Self         ME        US             PI
233.      Kesha Carra                               Spouse         NY        US          Solatium
234.      Steven Carra                                Self         NY        US             PI
235.      Amelia Carrasco                           Spouse         FL        US          Solatium
236.      Pedro Carrasco                              Self         FL        US             PI
237.      Linda Casaccio, as administrator of      PR/Spouse       NY       US, US          PI
          the Estate of Robert Casaccio,
          deceased, and individually
238.      Michael T. Cassidy                          Self          NY          US          PI
239.      Thomas Cassino                              Self          NY          US          PI
240.      Yvonne Castellano                           Self          CO          US          PI
241.      Charles Castelluccio                        Self          NY          US          PI
242.      Dora Castillo                               Self          NY          US          PI
243.      Jason Castillo                              Self          NY          US          PI
244.      Michael Cavaluzzi                           Self          NY          US          PI
245.      Pauline Cay                                 Self          PA          US          PI
246.      John Celentano                              Self          NY          US          PI
247.      Joseph Cendagorta                           Self          NY          US          PI
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248.      Recep Cengizkan                             Self          NY          US          PI
249.      Raymond Censoprano                          Self          FL          US          PI
250.      Robert Cerrito                              Self          NY          US          PI
251.      Theresa Cerrito                           Spouse          NY          US      Solatium
252.      Christian Chamberlain                       Self          NY          US          PI
253.      Danielle Chamberlain                      Spouse          NY          US      Solatium
254.      Larry Chambers                              Self          NY          US          PI
255.      Cesar Chamoula                              Self          NY          US          PI
256.      Renee Chamoula                            Spouse          NY          US      Solatium
257.      Luk M. Chan, as administrator of         PR/Spouse        NY          US     WD, Solatium
          the Estate of Chun Chan,
          deceased, and individually
258.      Kam Bor Yan Chan                           Spouse         NY       US         Solatium
259.      Lee S. Chan                                  Self         NY       US             PI
260.      Yuk L. Chan, as administrator of          PR/Child        NY      US, US     WD, Solatium
          the Estate of Oi Sum Chan,
          deceased, and individually
261.      Ting Hung Chan                            Spouse          NY       US         Solatium
262.      William S. Chan                             Self          NY       US             PI
263.      Dallas Chang                                Self          NY       US             PI
264.      Margarita Charles, as                    PR/Spouse        NY      US, US     WD, Solatium
          administrator of the Estate of
          Francis Charles, deceased, and
          individually
265.      Michael T. Charles                           Self         NY       US             PI
266.      Frank J. Chatonda                            Self         SC       US             PI
267.      Paulina Chaves                             Spouse         FL       US         Solatium
268.      Chew M. Cheah                                Self         NY       US             PI
269.      Hok Ming Chan, as administrator           PR/Child        NY      US, US     WD, Solatium
          of the Estate of Qiu Tao Chen,
          deceased, and individually
270.      Yan Y. Chen                                 Self          NY       US             PI
271.      Anna Cheng                                  Self          NY       US             PI
272.      Joe Cherubin                                Self          NY       US             PI
273.      Alvin Chichester                          Spouse          NY       US         Solatium
274.      Florence Chichester                         Self          NY       US             PI
275.      Judy Chien                                  Self          NY       US             PI
276.      Pui Yin Chin                                Self          NY       US             PI
277.      Wai C. Chiu                                 Self          NY       US             PI
278.      Matthew Chmielewski, as                  PR/Spouse        GA      US, US     WD, Solatium
          administrator of the Estate of
          Zenona Chmielewski, deceased
          and individually
279.      Eric Ciambra                                Self          NJ       US             PI
280.      Santo F. Ciccarello                         Self          NY       US             PI
281.      Susan Cicchetti, as administrator        PR/Spouse        NY      US, US     WD, Solatium
          of the Estate of Richard Cicchetti,
          deceased, and individually
282.      Peter Ciccotto                              Self          NY          US          PI
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283.      Graziano Cillo                                Self           NY       US             PI
284.      Melissa Cillo                               Spouse           NY       US         Solatium
285.      Lydia Cinquemani                            Spouse           NY       US         Solatium
286.      Thomas Cinquemani                             Self           NY       US             PI
287.      Thomas Ciuccio                                Self           NY       US             PI
288.      Charles Clark                                 Self           FL       US             PI
289.      Norma Clarke                                  Self           GA       US             PI
290.      Guy Clemente                                  Self           NJ       US             PI
291.      David Jewell, as administrator of          PR/Partner      Ontario   US, US     WD, Solatium
          the Estate of Daniel Cohen
          Benitez, deceased, and
          individually
292.      Janet Cole-Russell                          Spouse           NJ       US         Solatium
293.      Jodie Cole-Schwartz                           Self           NY       US             PI
294.      Madeline Coles                                Self           NY       US             PI
295.      Miladys Collado                               Self           NY       US             PI
296.      Jesus S. Collazo                              Self           FL       US             PI
297.      Milagros Collazo                            Spouse           FL       US         Solatium
298.      James Collentine                              Self           NJ       US             PI
299.      Edward Collins                                Self           NY       US             PI
300.      Elizabeth Collins                           Spouse           NY       US         Solatium
301.      Kendall Collins                               Self           PA       US             PI
302.      Virginia Collins, as administrator of      PR/Spouse         NY      US, US     WD, Solatium
          the Estate of Mark Collins,
          deceased, and individually
303.      Seymour Collins                               Self          NY        US             PI
304.      Tracey Collins                              Spouse          PA        US         Solatium
305.      Ruth Colon                                    Self          FL        US             PI
306.      Ann Marie Colonnello                        Spouse          NJ        US         Solatium
307.      Mike Colonnello                               Self          NJ        US             PI
308.      Dennis Compton                                Self          AZ        US             PI
309.      Shari Compton                               Spouse          AZ        US         Solatium
310.      Agueda Concepcion                             Self          NY        US             PI
311.      Denise Connolly                             Spouse          NY        US         Solatium
312.      William Connolly                              Self          NY        US             PI
313.      Marquita Slaughter-Cook, as                PR/Spouse        MD       US, US     WD, Solatium
          administrator of the Estate of
          Howard Cook, Jr, deceased, and
          individually
314.      David G. Cooper                               Self           PA          US          PI
315.      David G. Cooper                             Spouse           PA          US       Solatium
316.      Susan H. Cooper                               Self           PA          US          PI
317.      Susan H. Cooper                             Spouse           PA          US       Solatium
318.      Carol Coppola                               Spouse           NY          US       Solatium
319.      Jerry Coppola                                 Self           NY          US          PI
320.      Laurice Corbett                               Self           NY          US          PI
321.      Evelyn Cordero                              Spouse           PA          US       Solatium
322.      Jose M. Cordero                               Self           PA          US          PI
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323.      Donald Corkery                            Self         NY            US          PI
324.      Emilio Corona                             Self         NY            US          PI
325.      Louis Correa                              Self         NY            US          PI
326.      Maria Correa                            Spouse         NY            US      Solatium
327.      Tamara Correa-Pilgrim                     Self         TX            US          PI
328.      Carrie Costa                              Self         NY            US          PI
329.      Richard Costa                           Spouse         NY            US      Solatium
330.      Joseph Costella                           Self         NY            US          PI
331.      Paula Costella                          Spouse         NY            US      Solatium
332.      Jerome Coston                             Self         NY            US          PI
333.      James Cotty                               Self         FL            US          PI
334.      Janene Cotty                            Spouse         FL            US      Solatium
335.      Kerri Courtney                            Self         VT            US          PI
336.      Nathan Coward                             Self         WI            US          PI
337.      Pamela Cox                                Self         OH            US          PI
338.      Wayne Cox                               Spouse         OH            US      Solatium
339.      Judith Coyne, as administrator of      PR/Spouse       NY           US/US   WD, Solatium
          the Estate of Ronald Coyne,
          deceased, and individually
340.      Gary Crayton                              Self          FL           US          PI
341.      Bernard Creaven                           Self          NY           US          PI
342.      Raymond Creede                            Self          NY           US          PI
343.      Jacqueline Crespo                         Self          NY           US          PI
344.      Jorge Crespo                            Spouse          NY           US       Solatium
345.      Enrico Crisafi                            Self          CA           US          PI
346.      Benita Cristian                           Self          NY           US          PI
347.      Juan Cristian                           Spouse          NY           US       Solatium
348.      Lorenza Cropsey                         Spouse          NY           US       Solatium
349.      Robert Cropsey                            Self          NY           US          PI
350.      George T. Crowell                         Self          NY           US          PI
351.      Terry Crump                               Self          GA           US          PI
352.      James R. Crupi                            Self          NY           US          PI
353.      Ernie Cruz                                Self          NY           US          PI
354.      Joshua Cruz                               Self          NY           US          PI
355.      Robert Cuccio                             Self          FL           US          PI
356.      Angela Cucinello                        Spouse          NJ           US       Solatium
357.      James Cucinello                           Self          NJ           US          PI
358.      Anthony Cucuzza                           Self          NY           US          PI
359.      Arlene Cucuzza                          Spouse          NY           US       Solatium
360.      Barbara Cunningham                      Spouse          NY           US       Solatium
361.      Robert S. Cunningham                      Self          NY           US          PI
362.      Larry Cutrone                             Self          NC           US          PI
363.      Jill Cycon                                Self          CA           US          PI
364.      Robert Cycon                            Spouse          CA           US       Solatium
365.      Armand Dahan                            Spouse          NY           US       Solatium
366.      Anthony Dalelio                           Self          NY           US          PI
367.      Albert D'Alessandro                       Self          NY           US          PI
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368.      Eileen Daly                                Spouse          NY       US         Solatium
369.      James Daly                                   Self          NY       US             PI
370.      Joseph Damiano                               Self          NY       US             PI
371.      Joseph Darcy                                 Self          NJ       US             PI
372.      Finna Jones-Scott, as                     PR/Child         NY      US, US     WD, Solatium
          administrator of the Estate of
          Pamela Dargan, deceased, and
          individually
373.      Nita Datadeen                             Spouse           FL       US         Solatium
374.      Shivkumar Datadeen                          Self           FL       US             PI
375.      Christina Daus, as administrator of      PR/Spouse         NY      US, US     WD, Solatium
          the Estate of George Daus,
          deceased, and individually
376.      Jeffery Davie                             Spouse           VA       US         Solatium
377.      Patricia Davilar                          Spouse           FL       US         Solatium
378.      Robin Davilar                               Self           FL       US             PI
379.      Anthony Davis                               Self           DE       US             PI
380.      Grace Davis                               Spouse           NY       US         Solatium
381.      Juan L. Davis                               Self           NY       US             PI
382.      Kenneth Davis                               Self           FL       US             PI
383.      Patricia Gogarty, as administrator       PR/Sibling        NY      US, US     WD, Solatium
          of the Estate of John Deegan,
          deceased, and individually
384.      Grace DeFries                             Spouse           NY       US         Solatium
385.      David DeJesus                               Self           NJ       US             PI
386.      Lisa DeJesus                              Spouse           NJ       US         Solatium
387.      John Delaney                                Self           NY       US             PI
388.      Kevin Delaney                               Self           NY       US             PI
389.      Teresa Delaney                            Spouse           NY       US         Solatium
390.      Isabel DeLeon                               Self           NY       US             PI
391.      Joseph Delfino                              Self           PA       US             PI
392.      Jose Delgado                                Self           NY       US             PI
393.      Maximina Delgado                            Self           NY       US             PI
394.      Oscar Delgado                               Self           NY       US             PI
395.      Dominick DelMastro                          Self           GA       US             PI
396.      Joseph Delorenzo                            Self           FL       US             PI
397.      Lori Delorenzo                            Spouse           FL       US         Solatium
398.      Charles L. DelRegno                         Self           NY       US             PI
399.      Judy DelRegno                             Spouse           NY       US         Solatium
400.      Denise DeMaio                             Spouse           NY       US         Solatium
401.      Michael DeMaio                              Self           NY       US             PI
402.      Kathy Dennis, as administrator of        PR/Spouse         NY      US, US     WD, Solatium
          the Estate of Robert Dennis, Jr,
          deceased, and individually
403.      Salvatore DeNuccio                          Self           FL          US          PI
404.      Jorge L. DeOliveira                         Self           NJ          US          PI
405.      Judith DeSocio                              Self           NY          US       Solatium
406.      Ralph M. DeSocio                            Self           NY          US          PI
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407.      Brenda DeStephano                           Self          NY       US             PI
408.      John DeStephano                           Spouse          NY       US         Solatium
409.      Jennie Dexter-O’Neill                     Spouse          NV       US         Solatium
410.      Alexander Diachok                           Self          NY       US             PI
411.      Jeanne Diachok                            Spouse          NY       US         Solatium
412.      Gregory Diaz                                Self          NJ       US             PI
413.      Maria Diaz                                Spouse          NJ       US         Solatium
414.      Joanne DiBella, as administrator of      PR/Spouse        FL      US, US     WD, Solatium
          the Estate of Louis DiBella,
          deceased, and individually
415.      Ophline Dillon                              Self          NY       US             PI
416.      Frank DiMuro                                Self          NY       US             PI
417.      Kathy Dineen, as administrator of        PR/Spouse        NY      US, US     WD, Solatium
          the Estate of Vincent Dineen,
          deceased, and individually
418.      Yigal Dinewitz, as administrator of       PR/Child        NY      US, US     WD, Solatium
          the Estate of Isaac Dinewitz,
          deceased and individually
419.      Vivian Dinewitz                           Spouse          NY          US       Solatium
420.      Tricia Dini                                 Self          NC          US          PI
421.      Joseph DiPaolo                            Spouse          NY          US       Solatium
422.      Pearl Dipnarine                             Self          NY          US          PI
423.      Peter A. DiPrima                            Self          NY          US          PI
424.      David DiSanto                               Self          NY          US          PI
425.      Karen DiSanto                             Spouse          NY          US       Solatium
426.      Francis Discolo                             Self          NY          US          PI
427.      Carmel-Ann Ditch                          Spouse          AZ          US       Solatium
428.      Robert Ditch                                Self          AZ          US          PI
429.      Pasquale DiTillio                           Self          NY          US          PI
430.      Barbara Divis                             Spouse          PA          US       Solatium
431.      Brian Divis                                 Self          PA          US          PI
432.      Jacquelyn Dixon                           Spouse          NJ          US       Solatium
433.      Hasije Djencic                              Self          NY          US          PI
434.      Laja Djencic                                Self          NY          US          PI
435.      Musa Djencic                              Spouse          NY          US       Solatium
436.      Bruce Dobish                                Self          NY          US          PI
437.      Roxanne Dodds                               Self          NY          US          PI
438.      Jennifer Dodge-Jurena                     Spouse          NY          US       Solatium
439.      James Dolce                                 Self          NY          US          PI
440.      Lany Dominguez                              Self          NY          US          PI
441.      Kenneth Donenfeld                           Self          NY          US          PI
442.      Sharon Donenfeld                          Spouse          NY          US       Solatium
443.      Yi Tian Dong                                Self          NY          US          PI
444.      Joseph Dorino                               Self          NY          US          PI
445.      Marlo Dorino                              Spouse          NY          US       Solatium
446.      Thomas Dorrian                              Self          NY          US          PI
447.      Oscar Dorta                                 Self          NY          US          PI
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448.      Eileen Doyle                          Spouse          NY          US      Solatium
449.      Francine Doyle                        Spouse          NY          US      Solatium
450.      Timothy Doyle                           Self          NY          US          PI
451.      William Doyle                           Self          NY          US          PI
452.      Norman Drakeford                      Spouse          NY          US      Solatium
453.      Yvette Drakeford                        Self          NY          US          PI
454.      Barbara Dressler                      Spouse          NY          US      Solatium
455.      Joseph Dressler                         Self          NY          US          PI
456.      Alan Dubbs                              Self          NY          US          PI
457.      Debbie Dubbs                          Spouse          NY          US      Solatium
458.      Robert Duffy                          Spouse          NY          US      Solatium
459.      Virginia Duffy                          Self          NY          US          PI
460.      Patricia Dufort                         Self          PA          US          PI
461.      John Dunleavy                           Self          NY          US          PI
462.      Rita Dunleavy                         Spouse          NY          US      Solatium
463.      Joseph Dunn                             Self          SC          US          PI
464.      Andrew Eanniello                        Self          NY          US          PI
465.      Patrick Eanniello                       Self          NY          US          PI
466.      Gigi Ebron                              Self          NY          US          PI
467.      Jason Eddy                              Self          NY          US          PI
468.      Godwin Edebiri                          Self          TX          US          PI
469.      Cindy Ehlers                            Self          OR          US          PI
470.      Norm Ehlers                           Spouse          OR          US      Solatium
471.      Matthew Elam                            Self          VA          US          PI
472.      Leonard Elia                            Self          NJ          US          PI
473.      Dania Eliacin                         Spouse          NY          US      Solatium
474.      Paul Eliacin                            Self          NY          US          PI
475.      Sandra Ellezam                          Self          NY          US          PI
476.      Ernest Enea                             Self          VA          US          PI
477.      John Episcopo                           Self          NY          US          PI
478.      Joseph Esdaille                         Self          NY       US             PI
479.      Camille Esposito                      Spouse          NY       US         Solatium
480.      Salvatore Esposito                      Self          NY       US             PI
481.      Reginald Evans                          Self          NY       US             PI
482.      Shirlene Evans                        Spouse          NY       US         Solatium
483.      Willie Evans                            Self          SC       US             PI
484.      Osa Eweka                               Self          NY       US             PI
485.      Mariana Fagan, as administrator      PR/Spouse        NY      US, US     WD, Solatium
          of the Estate of Thomas Fagan,
          deceased, and individually
486.      John Falcon                             Self          NY          US          PI
487.      Helene Faltings                       Spouse          NY          US       Solatium
488.      John Faltings                           Self          NY          US          PI
489.      Darline Fanning                       Spouse          NY          US       Solatium
490.      George Fanning                          Self          NY          US          PI
491.      Helen Farinella                       Spouse          NY          US       Solatium
492.      Randolph Farinella                      Self          NY          US          PI
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493.      Deirdre Farmer                            Spouse          NY           US      Solatium
494.      Sean Farmer                                 Self          NY           US          PI
495.      Edward Farrell                              Self          NM           US          PI
496.      Carlos Faulkner                             Self          NY           US          PI
497.      Ellen Faulkner                            Spouse          NY           US      Solatium
498.      Neil Faulkner                               Self          NY           US          PI
499.      Arthur Feiler                               Self          OH           US          PI
500.      John Felidi                                 Self          NY           US          PI
501.      David Feng                                  Self          NY           US          PI
502.      Joseph Fenrich                              Self           FL          US          PI
503.      Angela Ferrara                              Self          NY           US          PI
504.      Annette Ferrara                           Spouse           NY       US         Solatium
505.      Fred Ferrara                                Self           NY       US             PI
506.      Carl A. Ferrigno                            Self           NY       US             PI
507.      Susan J. Ferrigno                         Spouse           NY       US         Solatium
508.      Chris Fierro                                Self           NY       US             PI
509.      Jeanette Filipkowski                      Spouse           NY       US         Solatium
510.      Stanley Filipkowski                         Self           NY       US             PI
511.      Robert Findaro                              Self           NY       US             PI
512.      Edward Fine                                 Self           NJ       US             PI
513.      Maureen Finnegan                          Spouse           NY       US         Solatium
514.      Ray Finnegan                                Self           NY       US             PI
515.      Charles Fiore                               Self           NY       US             PI
516.      Gail Fiore                                Spouse           NY       US         Solatium
517.      Jacqueline Fischler                       Spouse           NY       US         Solatium
518.      Mark I. Fischler                            Self           NY       US             PI
519.      Gregg Fishman                               Self           NY       US             PI
520.      Audrey Longley-Fitzpatrick, as           PR/Spouse         NY      US, US     WD, Solatium
          administrator of the Estate of John
          Fitzpatrick, deceased, and
          individually
521.      Michael Flanagan                            Self           NY          US          PI
522.      Kevin Flanders, as administrator of      PR/Sibling        NJ          US     WD, Solatium
          the Estate of Patrick Flanders,
          deceased, and individually
523.      Gordana Fleischer                           Self           NJ          US          PI
524.      Rich Fleischer                            Spouse           NJ          US       Solatium
525.      Edna Flood                                  Self           NY          US          PI
526.      Paul Fogle                                  Self           PA          US          PI
527.      Anne Foodim                                 Self           NY          US          PI
528.      Kenrich Forbes                              Self           NY          US          PI
529.      Jason Fourman                               Self           GA          US          PI
530.      Emilia Francis                            Spouse           PA          US       Solatium
531.      Jeffrey Francis                             Self           PA          US          PI
532.      Erika Francisco                           Spouse           NY          US       Solatium
533.      Ralph A. Francisco                          Self           NY          US          PI
534.      Frank Frasco                                Self           NY          US          PI
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535.      Vincent Fratta, as administrator of       PR/Child        NY      US, US     WD, Solatium
          the Estate of Agnes Fratta,
          deceased, and individually
536.      Clarence Fredericks                          Self         NY       US             PI
537.      Linda Freeman                                Self         FL       US             PI
538.      Thomas Freeman                             Spouse         FL       US         Solatium
539.      Sherine Reina, as administrator of        PR/Child        NY      US, US     WD, Solatium
          the Estate of Tonia Freeman,
          deceased, and individually
540.      Deborah French                              Self          NY          US          PI
541.      Holly R. French                             Self          NC          US          PI
542.      Connail Friel                               Self          NY          US          PI
543.      Fernando Fuentes                            Self          FL          US          PI
544.      Gladys Fuentes                              Self          CT          US          PI
545.      Vivian Fuentes                              Self          PA       US             PI
546.      Anthony Fusaro                              Self          NY       US             PI
547.      Jackie Fusaro                             Spouse          NY       US         Solatium
548.      Marino Gabrielli                            Self          NY       US             PI
549.      Michael Galante                             Self          NY       US             PI
550.      Carol Galdi                               Spouse          DE       US         Solatium
551.      William Galdi                               Self          DE       US             PI
552.      John M. Gallagher                           Self          FL       US             PI
553.      Elizabeth Gallo, as administrator        PR/Spouse        NY      US, US     WD, Solatium
          of the Estate of Anthony Gallo,
          deceased, and individually
554.      Ann Gallo, as administrator of the       PR/Spouse        NJ      US, US     WD, Solatium
          Estate of Salvatore Gallo,
          deceased, and individually
555.      Linda Gallogly, as administrator of      PR/Spouse        NJ      US, US     WD, Solatium
          the Estate of Kevin Gallogly,
          deceased, and individually
556.      Francis Gambardella                         Self          PA          US          PI
557.      Anthony Gambino                             Self          NY          US          PI
558.      Raynier Gamboa                              Self          NJ          US          PI
559.      Debra Garcia                              Spouse          NY          US       Solatium
560.      Isidro Garcia                               Self          NY          US          PI
561.      Mary Jane Garcia                            Self          NJ          US          PI
562.      Ricardo Garcia                              Self          NY          US          PI
563.      Roxeanne Garcia                           Spouse          NY          US       Solatium
564.      Maria Garcia-Shands                         Self          NY          US          PI
565.      Melinda Garris                              Self          NJ          US          PI
566.      Alexandria Garrity                        Spouse          NY          US       Solatium
567.      Robert Garrity                              Self          NY          US          PI
568.      Joseph Gaston                               Self          NY          US          PI
569.      William Gaughan                             Self          NC          US          PI
570.      Michael Gavin                               Self          FL          US          PI
571.      Kevin Geary                                 Self          NY          US          PI
572.      Lorraine Geary                            Spouse          NY          US       Solatium
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573.      Carl Gelardi                             Self          NY          US          PI
574.      Frances Gelardi                        Spouse          NY          US      Solatium
575.      Angelo J. Gentile                        Self          NY          US          PI
576.      Dorothy Gentile                        Spouse          NY       US         Solatium
577.      Paul Gerardi                             Self          NY       US             PI
578.      Marina Ghin, as administrator of      PR/Spouse        NY      US, US     WD, Solatium
          the Estate of Vitali Ghin,
          deceased, and individually
579.      Margarita Gianturco                    Spouse          NJ          US      Solatium
580.      Richard Gianturco                        Self          NJ          US          PI
581.      James Gierak                             Self          NY          US          PI
582.      Beatrice Gifford                       Spouse          NY          US      Solatium
583.      Christopher P. Gifford                   Self          NY          US          PI
584.      Mary Gigante                           Spouse          NY          US      Solatium
585.      Salvatore Gigante                        Self          NY          US          PI
586.      Elizabeth Gilliams                     Spouse          NY          US      Solatium
587.      Frank Gilliams                           Self          NY          US          PI
588.      Charles D. Ginn                          Self          TX          US          PI
589.      Joseph Giordano                          Self          NY          US          PI
590.      Joseph DePasquale, as                 PR/Spouse        NV          US     WD, Solatium
          administrator of the Estate of
          Josephine Giordano-DePasquale,
          deceased, and individually
591.      Giovanni Giovanniello                    Self         NY           US          PI
592.      Joan Giummo                              Self         MA           US          PI
593.      Carol Glaser                           Spouse         NY           US      Solatium
594.      Michael Glaser                           Self         NY           US          PI
595.      Craig Glass                              Self         FL           US          PI
596.      Dawn Glass                             Spouse         FL           US      Solatium
597.      Elizabeth Gleason                      Spouse         NY           US      Solatium
598.      Timothy Gleason                          Self         NY           US          PI
599.      Doris Godfrey                            Self         TX           US          PI
600.      Christopher Goehring                     Self         NC           US          PI
601.      Toni Goehring                          Spouse         NC           US      Solatium
602.      Barbara Goger                          Spouse         NY           US      Solatium
603.      Gerard Goger                             Self         NY           US          PI
604.      Esther Goldberg                          Self          NY       US             PI
605.      Paul Goldberger                          Self          NY       US             PI
606.      Robert Golden                            Self          NY       US             PI
607.      David Gomez                              Self          NY       US             PI
608.      Garry Gong, as administrator of        PR/Child        NY      US, US     WD, Solatium
          the Estate of Gui Cheng Gong,
          deceased, and individually
609.      Min Fang Gong                          Spouse          NY          US       Solatium
610.      Manuel Gonzalez                          Self          NY          US          PI
611.      Howard Goodman                           Self          NY          US          PI
612.      Jennifer Goodman                       Spouse          NY          US       Solatium
613.      Moustafa Gouda                           Self          NY          US          PI
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614.      Evaggelos Gountas                          Self          NY       US             PI
615.      Daysi Gracia, as administrator of       PR/Spouse        FL      US, US     WD, Solatium
          the Estate of Pedro Gracia,
          deceased, and individually
616.      Joseph Graham                              Self          NY          US          PI
617.      Josephine L. Granger                       Self          NY          US          PI
618.      Christine Granshaw                       Spouse          NY          US       Solatium
619.      Michael Granshaw                           Self          NY          US          PI
620.      Glenn Grant                                Self          NY          US          PI
621.      Janet Grant                                Self          NY          US          PI
622.      Joseph Grant                               Self          NY          US          PI
623.      Maureen Grant                            Spouse          NY          US       Solatium
624.      Michael Granville                          Self          NY          US          PI
625.      Vincent A. Green                           Self          DE       US             PI
626.      Herbert Greene                             Self          VA       US             PI
627.      January Drevnak as administrator           PR            NY      US, US         WD
          of the Estate of Fred Grey,
          deceased
628.      Joe Grigas                                 Self          NY          US          PI
629.      David J. Gross                             Self          NY          US          PI
630.      Jeannette Gross                          Spouse          NY          US      Solatium
631.      Malcom Gross                               Self          NY          US          PI
632.      Zelda Gross                              Spouse          NY          US      Solatium
633.      Salvatore Grosso                           Self          NJ          US          PI
634.      Yvonne Grosso                            Spouse          NJ          US      Solatium
635.      Cary E. Gruber                             Self          FL          US          PI
636.      Nicole Gruber                            Spouse          FL          US      Solatium
637.      Bonnie Guagliardi                        Spouse          NY          US      Solatium
638.      Peter Guagliardi                           Self          NY          US          PI
639.      Joseph Guastafeste                         Self          NY          US          PI
640.      Arthur Gudeon                              Self          NY          US          PI
641.      Susan Guercio                              Self          NY       US             PI
642.      Paul Gugliuzzo                             Self          NY       US             PI
643.      Aliceann Drosihn, as administrator      PR/Spouse        NY      US, US     WD, Solatium
          of the Estate of James Guida,
          deceased, and individually
644.      Joseph Gurrieri                            Self          AZ       US             PI
645.      Mary Lou Gurrieri                        Spouse          AZ       US         Solatium
646.      Raymond Guttadauria                        Self          NY       US             PI
647.      Teresa Guttadauria                       Spouse          NY       US         Solatium
648.      Li Dan Ha, as administrator of the      PR/Spouse        NY      US, US     WD, Solatium
          Estate of Danny S Ha, deceased,
          and individually
649.      Robert K. Hall                             Self          NY          US          PI
650.      Tara Hall                                Spouse          NY          US       Solatium
651.      Vincent Hallinan                           Self          NY          US          PI
652.      Douglas Hamilton                           Self          NY          US          PI
653.      Daniele Hanges                           Spouse          NY          US       Solatium
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654.      Steven P. Hanges                            Self          NY       US             PI
655.      James Hanrahan                              Self          FL       US             PI
656.      Kris Hanrahan                             Spouse          FL       US         Solatium
657.      Rain Haran, as administrator of          PR/Child         NY      US, US     WD, Solatium
          the Estate of Joseph Haran,
          deceased, and individually
658.      Jan Harasiuk                               Self           NY       US             PI
659.      Arnold Harbus                              Self           NY       US             PI
660.      Celica Harbus                            Spouse           NY       US         Solatium
661.      Arnold Hardman                             Self           PA       US             PI
662.      Sharon Hardman                           Spouse           PA       US         Solatium
663.      Charles Harris                             Self           NY       US             PI
664.      Denise Harris                              Self           NY       US             PI
665.      Theresa Harris                           Spouse           NY       US         Solatium
666.      Valerie Harris                             Self           NY       US             PI
667.      Ronda Harrison                             Self           GA       US             PI
668.      Donald Hawkins                             Self           NY       US             PI
669.      Earnestine Hawkins                       Spouse           NY       US         Solatium
670.      Richard Hayes                              Self           NJ       US             PI
671.      Catherine Healey                         Spouse           NY       US         Solatium
672.      James Healey                               Self           NY       US             PI
673.      William Heaney                             Self           NY       US             PI
674.      Leslie Hearne                              Self           NY       US             PI
675.      James Heavey                               Self           NJ       US             PI
676.      Mary Jane Heavey                         Spouse           NJ       US         Solatium
677.      Kathleen Heenan, as administrator       PR/Spouse         NY      US, US     WD, Solatium
          of the Estate of John Heenan,
          deceased, and individually
678.      Brian Heffler, as administrator of      PR/Sibling        NY      US, US     WD, Solatium
          the Estate of Anna Louise Heffler,
          deceased, and individually
679.      William Hein                               Self           AZ       US             PI
680.      Chet Helms                                 Self           VA       US             PI
681.      Darcia Hemphill                          Spouse           NY       US         Solatium
682.      Milton Hemphill                            Self           NY       US             PI
683.      David Henao                                Self           NY       US             PI
684.      Adrian Henderson, as                    PR/Spouse         NY      US, US     WD, Solatium
          administrator of the Estate of
          Pamela Henderson, deceased, and
          individually
685.      Pablo Henriquez                            Self           NJ          US          PI
686.      Barrington S. Henry                        Self           NY          US          PI
687.      Gloria Hernandez                           Self           NY          US          PI
688.      Michael Hernandez                          Self           NY          US          PI
689.      Mildred Hernandez                          Self          NY           US          PI
690.      Susan Herr                                 Self          NY           US          PI
691.      Roberto Herrera                            Self          SC           US          PI
692.      Margaret Herrick                         Spouse          MD           US       Solatium
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693.      Thomas K. Herrick                          Self          MD           US          PI
694.      Deirdre Hess                             Spouse          NY           US      Solatium
695.      Thomas Hess                                Self          NY           US          PI
696.      Beth Hettinger                           Spouse           NY          US      Solatium
697.      Karl Hettinger                             Self           NY          US          PI
698.      Peter Hickey                               Self           NY          US          PI
699.      Richard Hickis                             Self           NY          US          PI
700.      Austria Hidalgo                            Self           NY          US          PI
701.      Orlando Hidalgo                            Self           FL          US          PI
702.      Robinson Hidalgo                           Self           NY          US          PI
703.      Victoria Hidalgo                         Spouse           FL          US      Solatium
704.      Debbie Higgins                           Spouse           NY          US      Solatium
705.      Eric Higgins                               Self           NJ          US          PI
706.      Ronald Higgins                             Self           NY          US          PI
707.      Libby Hikind                               Self           FL       US             PI
708.      Cathy Himes                              Spouse           NY       US         Solatium
709.      Richard Himes                              Self           NY       US             PI
710.      Heather Hindmarsh                          Self           CA       US             PI
711.      Yvette Hines                               Self           NY       US             PI
712.      Erica Hinrichs-Biehle                    Spouse           NY       US         Solatium
713.      Keng Ho                                    Self           NY       US             PI
714.      Mau L. Ho, as administrator of the      PR/Spouse         NY      US, US     WD, Solatium
          Estate of Kwan Ying Ho, deceased,
          and individually
715.      Elaine M. Hoare                            Self           NY       US             PI
716.      Leeanne Holgan                             Self           NY       US             PI
717.      William Holgan                           Spouse           NY       US         Solatium
718.      Kai Hollesen, as administrator of       PR/Sibling        NY      US, US     WD, Solatium
          the Estate of Jeffrey Hollesen,
          deceased, and individually
719.      Lian Holroyd, as administrator of       PR/Spouse         PA      US, US     WD, Solatium
          the Estate of Ernest Holroyd,
          deceased, and individually
720.      Morris Howes, as administrator of       PR/Spouse         NY      US, US     WD, Solatium
          the Estate of Angela Howes,
          deceased, and individually
721.      Robert Hsu, as administrator of         PR/Sibling        NY      US, US     WD, Solatium
          the Estate of Michael Hsu,
          deceased, and individually
722.      William Hucks                              Self           NY          US          PI
723.      Maureen Hudson                           Spouse           NY          US       Solatium
724.      Stephen Hudson                             Self           NY          US          PI
725.      James Hughes                               Self           NY          US          PI
726.      Peter Humann                               Self           NY          US          PI
727.      Daniel Hunt                                Self           NJ          US          PI
728.      Linda Hunt                               Spouse           NJ          US       Solatium
729.      Huu Huynh                                  Self           NY          US          PI
730.      Bari Hyman                                 Self           NY          US          PI
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731.      Karen Iacovella                            Spouse          NJ          US      Solatium
732.      Michael Iacovella                            Self          NJ          US          PI
733.      Christopher Ikone                            Self          NY          US          PI
734.      Kerry Ikone                                Spouse          NY          US      Solatium
735.      Myong Suk Im                               Spouse          NJ          US      Solatium
736.      Catherine Imp                              Spouse          NY          US      Solatium
737.      Raymond Imp                                  Self          NY          US          PI
738.      Alexander Irlin                              Self          FL          US          PI
739.      Natalya Irlin                              Spouse          FL          US      Solatium
740.      Husne N. Islam                             Spouse          NY          US      Solatium
741.      Mohammad Islam                               Self          NY          US          PI
742.      Alexander H. Jack, Jr.                       Self          NY          US          PI
743.      Linda Jack                                 Spouse          NY       US         Solatium
744.      Cindy Jacklets                             Spouse          NJ       US         Solatium
745.      John Jacklets                                Self          NJ       US             PI
746.      Mark Jacobsen                                Self          NY       US             PI
747.      Jane N. Jaffe                                Self          NY       US             PI
748.      Kunjunjamma James                          Spouse          NY       US         Solatium
749.      Mathew James                                 Self          NY       US             PI
750.      Jeffrey Janas                                Self          NY       US             PI
751.      Linda Janas                                Spouse          NY       US         Solatium
752.      Bee Y. Lin, as administrator of the       PR/Spouse        NY      US, US     WD, Solatium
          Estate of Jimmy Jean, deceased,
          and individually
753.      Karlene Jenkins                            Spouse          NY          US       Solatium
754.      Peter Jenkins                                Self          NY          US            PI
755.      Nina Jody                                    Self          NY          US            PI
756.      Douglas A. John                              Self          FL          US            PI
757.      Augustine Johnson                            Self          NY          US            PI
758.      Leroy Johnson                                Self          NY          US            PI
759.      Paulette Johnson                           Spouse          NY          US       Solatium
760.      Rodney Johnson, Sr.                          Self          NY          US            PI
761.      Lesley Plaskett as mother and           PR/Minor Child     NY          US      PI, Solatium
          natural guardian of minor child
          Avery Jones and individually
762.      Fred Jones                                   Self          NY       US             PI
763.      Kai Jones                                  Spouse          FL       US         Solatium
764.      Rose Jones                                   Self          NY       US             PI
765.      Lawrence Joseph                              Self          NY       US             PI
766.      Ana Juneau                                   Self          NY       US             PI
767.      Michael Jurena                               Self          NY       US             PI
768.      Phyllis Jurnove, as administrator         PR/Spouse        NC      US, US     WD, Solatium
          of the Estate of Marc R. Jurnove,
          deceased, and individually
769.      Garrick Justesen                             Self          NY          US          PI
770.      Toni Justiniano                              Self          NY          US          PI
771.      Stuart Kall                                Spouse          NY          US       Solatium
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772.      Alexandra Kang                            Self          NY          US          PI
773.      Wendee Kassel-Meaney                      Self          NY          US          PI
774.      Konstantinos Katechis                     Self          NY          US          PI
775.      John Katehis                              Self          NY          US          PI
776.      Debbra Kavanah                          Spouse          NY          US      Solatium
777.      George Kavanah                            Self          NY          US          PI
778.      Anna Kazina                               Self          NY          US          PI
779.      Joanne Kearney                            Self          NJ          US          PI
780.      Peter Kearney                             Self          NY          US          PI
781.      Catherine Keeley                          Self          NC          US          PI
782.      Mark Keeley                               Self          NY          US          PI
783.      Maria Kehoe                             Spouse         NJ           US      Solatium
784.      William Kehoe                             Self         NJ           US          PI
785.      Jerome Keitel                             Self         NY           US          PI
786.      John Kelly                              Spouse         NY           US      Solatium
787.      Edward Kennedy                            Self         NY           US          PI
788.      Francine Kennedy                        Spouse         NY           US      Solatium
789.      Sarah Kessler                             Self         NY           US          PI
790.      Alfred Khananov                           Self         NY           US          PI
791.      Alfred Khananov                         Spouse         NY           US      Solatium
792.      Inna Khananov                             Self         NY           US          PI
793.      Inna Khananov                           Spouse         NY           US      Solatium
794.      Jimmy Kilpatric                           Self         NY           US          PI
795.      Jeffrey Kimmel                            Self         NJ           US          PI
796.      Sean Kinahan                              Self         NC           US          PI
797.      Susan Kinahan                           Spouse         NC           US      Solatium
798.      Brenda King                             Spouse         NY           US      Solatium
799.      Michael King                              Self         NY           US          PI
800.      Stanley King                              Self         NY           US          PI
801.      Donnay M. Kingston                        Self         NJ           US          PI
802.      Ronnie Kirby                              Self         NY           US          PI
803.      Gwendolyn Kirkland                        Self         NY           US          PI
804.      Barbara Klein                             Self         NY           US          PI
805.      Evan Klein                                Self         NY           US          PI
806.      Jonathan Klein                          Spouse         NY           US      Solatium
807.      Victor Klima                              Self         SC           US          PI
808.      Arthur Koenemund                          Self         NM           US          PI
809.      Catherine Konovitch                     Spouse          NY       US         Solatium
810.      Peter J. Konovitch                        Self          NY       US             PI
811.      John Kontogianis                        Spouse          NY       US         Solatium
812.      Georgekutty Korah                         Self          NY       US             PI
813.      Michelle Kozlowski                      Spouse          NY       US         Solatium
814.      Robert Kozlowski                          Self          NY       US             PI
815.      Patricia Kranglewitz, as               PR/Spouse        NY      US, US     WD, Solatium
          administrator of the Estate of
          Walter Kranglewitz, deceased, and
          individually
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816.      Brian Kravetz                              Self          NY          US          PI
817.      Sandra Kreisberg                         Spouse          NY          US      Solatium
818.      William Kreisberg                          Self          NY          US          PI
819.      Vitaly Krutoshinskiy                       Self          NY          US          PI
820.      Kin K. Ku                                  Self          NY          US          PI
821.      Eric Kuczera                               Self          NY          US          PI
822.      Tara Kuczera                             Spouse          NY          US      Solatium
823.      David Kugler                               Self          NY          US          PI
824.      Alicia Kuhles                              Self          NY          US          PI
825.      Hani Kutteh                                Self          NY          US          PI
826.      John Lagatella                           Spouse          NY       US         Solatium
827.      Lisa Lagatella                             Self          NY       US             PI
828.      Myungok Lai, as administrator of        PR/Spouse        NJ      US, US     WD, Solatium
          the Estate of Simon Lai, deceased,
          and individually
829.      Jodi Laino                               Spouse          NY          US       Solatium
830.      Thomas J. Laino                            Self          NY          US          PI
831.      Patricia Lampe                           Spouse          NY          US       Solatum
832.      Robert Lampe                               Self          NY          US          PI
833.      Francesca Lanning                        Spouse          NJ          US       Solatium
834.      Richard Lanning                            Self          NJ          US          PI
835.      Edwina Lano                              Spouse          NY          US       Solatium
836.      Thomas Lano                                Self          NY          US          PI
837.      Alyssa Lanot
838.      Paul Lanot                                 Self         NY        US             PI
839.      Toni Lanotte                               Self         NY        US             PI
840.      Lori Lash                                  Self         NY        US             PI
841.      Doralba Lassalle-Bones                   Spouse         NY        US         Solatium
842.      Man S. Lau                                 Self         NY        US             PI
843.      Lauren Lau-Loew                            Self         NY        US             PI
844.      Lauren Lau-Loew                          Spouse         NY        US         Solatium
845.      Richard Lawson                             Self         NH        US             PI
846.      Rebecca A Lazinger                         Self         NY        US             PI
847.      Yan Yan Chen, as administrator of       PR/Spouse       NY       US, US     WD, Solatium
          the Estate of Hoi Lee, deceased,
          and individually
848.      Richard Lee                                Self          NY          US          PI
849.      Wai Y. Lee                                 Self          NY          US          PI
850.      Jose Lema                                  Self          NY          US          PI
851.      Sanford LeMoine                            Self          NJ          US          PI
852.      Paul Lemos                                 Self          NY          US          PI
853.      Henry Lent                                 Self          NY          US          PI
854.      Marilyn Lent                             Spouse          NY          US       Solatium
855.      Gerard Leonard                             Self          NY          US          PI
856.      Jeanie Leonard                           Spouse          NY          US       Solatium
857.      Michael Leonardi                           Self          NY          US          PI
858.      Enrique D. Leonardo                        Self          FL          US          PI
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859.      Bo Young Leong                              Self          NY          US          PI
860.      Linchun Leung                               Self          NY          US          PI
861.      Wing Hong Leung                             Self          NY          US          PI
862.      Hope Levine                                 Self          NY          US          PI
863.      Antonia Lewis                               Self          NY          US          PI
864.      Evol Lewis                                  Self          NY          US          PI
865.      Michael Lewis                             Spouse          NY       US         Solatium
866.      Guo N. Li                                   Self          NY       US             PI
867.      Ivy Wang, as administrator of the        PR/Spouse        NY      US, US     WD, Solatium
          Estate of Ka Li, deceased, and
          individually
868.      Wan Y. Huang, as administrator of        PR/Spouse        NY      US, US     WD, Solatium
          the Estate of Zhuo Yi Liang
          deceased, and individually
869.      Zhuo J. Liao                                Self          NY          US         PI
870.      David Lieberman                             Self          CA          US         PI
871.      Jonathan Lilienthal                         Self          NY          US         PI
872.      Diane Lillibridge                           Self          NY          US      Solatium
873.      John Lillibridge                            Self          NY          US         PI
874.      Chun Lin                                    Self          NY          US         PI
875.      Ling Lin                                  Spouse          NY          US      Solatium
876.      Tao Ping Lin                                Self          NY          US         PI
877.      Charles J. Linder                           Self          NY       US            PI
878.      Wendy Linder                              Spouse          NY       US         Solatium
879.      Donald Lindsey                            Spouse          NY       US         Solatium
880.      Faye J. Lindsey                             Self          NY       US            PI
881.      Jody Lipton                                 Self          NY       US            PI
882.      April Littles                             Spouse          NY       US         Solatium
883.      David Littles                               Self          NY       US            PI
884.      Charles Littman                             Self          NY       US            PI
885.      Siumei Liu, as administrator of the         Self          NY      US, US     WD/Solatium
          Estate of Herbert Keechan Liu
          deceased, and individually
886.      Michelle Liu                              Spouse          NJ          US       Solatium
887.      Sam Liu                                     Self          NJ          US          PI
888.      Siumei C. Liu                               Self          NY          US          PI
889.      Paula LoBono                              Spouse          NY          US       Solatium
890.      Salvatore A. LoBono                         Self          NY          US          PI
891.      John Locascio                               Self          NY          US          PI
892.      Gina Loch                                 Spouse          NY          US       Solatium
893.      William Loch                                Self          NY          US          PI
894.      Victoria Lockhart                           Self          NJ          US          PI
895.      Glenn Loew                                  Self          NY          US          PI
896.      Glenn Loew                                Spouse          NY          US       Solatium
897.      Anthony Longhitano                          Self          NY          US          PI
898.      Steven Lopez                                Self          NY          US          PI
899.      Melanie Lopez-Humann                      Spouse          NY          US       Solatium
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900.      Nelson T Lora                            Self           NY          US          PI
901.      Dennis Lott                              Self           AR          US          PI
902.      Dwight C. Low                            Self           NY          US          PI
903.      Stephen M. Low                           Self           NY          US          PI
904.      George Lowe                              Self           NY          US          PI
905.      Roxanne Lowe                           Spouse           NY       US         Solatium
906.      Fernando Loza                            Self           NY       US             PI
907.      Jia J. Lu                                Self           NY       US             PI
908.      Matthew Lubrano                          Self           NY       US             PI
909.      Katherine Terino-Lucev, as            PR/Sibling        NY      US, US     WD, Solatium
          administrator of the Estate of
          Michael Lucev, deceased, and
          individually
910.      Justina Luna                             Self           NY          US          PI
911.      Sean Lynch                               Self           NY          US          PI
912.      Thomas Macchia                           Self           FL          US          PI
913.      Pedro M. Macias                          Self           NY          US          PI
914.      Corrine Mack-Dunn                      Spouse           SC          US      Solatium
915.      Monica Macken-Letizia                    Self           NY          US          PI
916.      Elizabeth MacKenzie                    Spouse           CT          US      Solatium
917.      Stephen MacKenzie                        Self           CT          US          PI
918.      Anne L. Maegli                           Self           NY          US          PI
919.      April Magenta                          Spouse           NY          US      Solatium
920.      Catherine Magenta                      Spouse           NY          US      Solatium
921.      Gino Magenta                             Self           NY          US          PI
922.      Ralph Magenta                            Self           NY          US          PI
923.      Nicholas Maggio                          Self           FL          US          PI
924.      Kevin Maher                              Self           NY          US          PI
925.      Richard Maher                             Self          NY       US             PI
926.      Feng Ying Lei Mai                       Spouse          NY       US         Solatium
927.      Huo Min Mai, as administrator of       PR/Child         NY      US, US     WD, Solatium
          the Estate of Hong Jun Mai
          deceased, and individually
928.      Alexis Maisonette                        Self           NJ          US          PI
929.      Dennis Majerski                          Self           NY          US          PI
930.      Keith Major                              Self           NY          US          PI
931.      Persio Maldonado                         Self           NY          US          PI
932.      Ellen Malloy                             Self           NY          US          PI
933.      Peter Malloy                           Spouse           NY          US       Solatium
934.      Beth Malone                            Spouse           NY          US       Solatium
935.      Dennis Malone                            Self           NY          US          PI
936.      Donald L. Mancinelli                     Self           NY          US          PI
937.      Rita Mancinelli                        Spouse           NY          US       Solatium
938.      Marilyn Maras                            Self           NY          US          PI
939.      Jose Marcano                             Self           NJ          US          PI
940.      Rocco Marceda                            Self           NY          US          PI
941.      Yolanda Marceda                        Spouse           NY          US       Solatium
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942.      Robert Marchesano                          Self          VA       US               PI
943.      Salvatore Marchese                         Self          NY       US               PI
944.      Marian Marchiano                           Self          NY       US               PI
945.      Julian Marcinkowski                        Self          NY       US               PI
946.      Natalie Marcinkowski                     Spouse          NY       US           Solatium
947.      Steven Marcopolos                          Self          NY       US               PI
948.      Barbara D. Marcus                          Self          NJ       US               PI
949.      Eric Marcus                              Spouse          NJ       US           Solatium
950.      Carlo Marietta                             Self          NY       US               PI
951.      Charles P. Markert                         Self          NY       US               PI
952.      Shane Markey                               Self          NY       US               PI
953.      Tracey Marousek                            Self          NY       US               PI
954.      Jerome Martellaro                        Spouse          NY       US           Solatium
955.      Rosanna Martellaro                         Self          NY       US               PI
956.      Cheryl Martin                              Self          NY       US               PI
957.      Cheryl Martin, as administrator of      PR/Spouse        NY      US, US       WD, Solatium
          the Estate of James Martin
          deceased, and individually
958.      Matthew Martin                             Self          GA           US           PI
959.      Patrick Martin                             Self          NC           US           PI
960.      Jose Martinez                              Self         NJ            US           PI
961.      Modesto Martinez                           Self         MA            US           PI
962.      Mirian Martinez-Oliveros                   Self         NY            US           PI
963.      Thomas J. Marturano                        Self         NJ            US           PI
964.      Bogdan Maslowski                           Self         NY            US           PI
965.      Daniel Massett                             Self         NY            US           PI
966.      Walter Masterson                           Self         NY            US           PI
967.      Israel Matias                            Spouse         NJ            US       Solatium
968.      Richard Matos                              Self         FL            US           PI
969.      Scott B. Matty                             Self         NY            US           PI
970.      Dana Mauro                               Spouse         NY            US       Solatium
971.      Liberato Mauro                             Self         NY            US           PI
972.      Erskin Mayers                              Self         NY            US           PI
973.      Angela Mazzacco                          Spouse          NY       US           Solatium
974.      Steven N. Mazzacco                         Self          CT       US               PI
975.      Dorothy Mazzarella, as                  PR/Spouse        NY      US, US       WD, Solatium
          administrator of the Estate of
          Louis Mazzarella, deceased, and
          individually
976.      Michael Mazziotti                          Self          NY           US           PI
977.      Brian McAllister                           Self          NY           US           PI
978.      Eoin McAteer                               Self          NY           US           PI
979.      James McCarthy                           Spouse          NY           US       Solatium
980.      Charlene McDaniels                         Self          VA           US           PI
981.      Warren McDowell                            Self          NY           US           PI
982.      Maxine McFadzean                           Self          NY           US           PI
983.      Jodi McGinn, as administrator of        PR/Spouse        NY          Us, US   WD, Solatium
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           the Estate of Raymond McGinn,
           deceased, and individually
984.       William McGirr                            Self          NY          US          PI
985.       Thomas McGovern                           Self          NJ          US          PI
986.       Martin McGrail                            Self          NJ          US          PI
987.       Patricia McGrath                        Spouse          NY          US      Solatium
988.       Patrick J. McGrath                        Self          NY          US          PI
989.       Jacqueline McKenzie                       Self          NY          US          PI
990.       Rohan McKenzie                            Self         NY        US             PI
991.       Sonia McKenzie                          Spouse         NY        US         Solatium
992.       Theresa McKenzie                          Self         NY        US             PI
993.       Leo McKeon                                Self         NC        US             PI
994.       Stacey McLaughlin                         Self         NY        US             PI
995.       William McLaughlin                        Self         NY        US             PI
996.       Ronald Mclean                             Self         NY        US             PI
997.       Vivian McLoughlin, as                  PR/Spouse       MN       US, US     WD, Solatium
           administrator of the Estate of
           Kevin McLoughlin, deceased, and
           individually
998.       James McNeece                             Self          NY       US             PI
999.       Maria McQueen, as administrator        PR/Spouse        NY      US, US     WD, Solatium
           of the Estate of Norman
           McQueen, deceased, and
           individually
1000.      James A. McVey                            Self          NJ       US             PI
1001.      Patrick McVey                             Self          NY       US             PI
1002.      Paul Meaney                             Spouse          NY       US         Solatium
1003.      Joseph Medina                             Self          NY       US             PI
1004.      Mariana Medinets                          Self          NY       US             PI
1005.      Donna Meehan                            Spouse          NY       US         Solatium
1006.      Michael Meehan                            Self          NY       US             PI
1007.      Peter D. Meehan                           Self          NY       US             PI
1008.      Kathleen Meiggs, as administrator      PR/Spouse        VA      US, US     WD, Solatium
           of the Estate of Willard Meiggs,
           deceased, and individually
1009.      Mario Mejia                               Self          NY          US          PI
1010.      Kenneth Mekeel                            Self          NY          US          PI
1011.      Bryan Melchionda                          Self          NY          US          PI
1012.      Diana Melendez                            Self          NY          US          PI
1013.      Patrick T. Mellor                         Self          NY          US          PI
1014.      Richard Merli                             Self          NY          US          PI
1015.      Cynthia Merman                            Self          NY          US          PI
1016.      Joseph M. Merwin                          Self          NY          US          PI
1017.      James Metzler                             Self          NY       US             PI
1018.      Brian Michaelson, as                   PR/Spouse        PA      US, US     WD, Solatium
           administrator of the Estate of
           Kristine Michaelson, deceased,
           and individually
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1019.      Eusebia O. Milanes             Self        NY          US          PI
1020.      Annette Milano               Spouse        NY          US       Solatium
1021.      Alan Miller                    Self        NY          US          PI
1022.      Kurt Miller                    Self        VA          US          PI
1023.      Michael Miller                 Self        NY          US          PI
1024.      Susan Miller                 Spouse        VA          US       Solatium
1025.      Teresa Miller                Spouse        NY          US       Solatium
1026.      Zelda Miller                 Spouse        NY          US       Solatium
1027.      Lawrence Millus                Self        NJ          US          PI
1028.      Gregory Millwater              Self        NY          US          PI
1029.      Joseph Minicozzi               Self        SC          US          PI
1030.      Margarite Miranda            Spouse        NY          US       Solatium
1031.      Perie Miranda                  Self        NY          US          PI
1032.      Carol Mirotznik                Self        NY          US          PI
1033.      Anthony Mirra                  Self        NY          US          PI
1034.      Laura Misciagna              Spouse        CT          US       Solatium
1035.      Patrick J. Misciagna           Self        CT          US          PI
1036.      Dominic Mizio                Spouse        NY          US       Solatium
1037.      Frank M. Moceri                Self        NY          US          PI
1038.      Francesca Monari               Self        NY          US          PI
1039.      Luis Montesdeoca               Self        NY          US          PI
1040.      Martha Montgomery              Self        NY          US          PI
1041.      Lawrence F. Montrose           Self        NY          US          PI
1042.      Merry Montrose               Spouse        NY          US       Solatium
1043.      Darren Moonan                  Self        NY          US          PI
1044.      Michael Moonan                 Self        NY          US          PI
1045.      John Moore                     Self        NY          US          PI
1046.      John T. Moore                  Self        NY          US          PI
1047.      Yolanda Moorer Evans         Spouse        SC          US       Solatium
1048.      Mark Morales                   Self        NY          US          PI
1049.      Vincent Morales                Self        NY          US          PI
1050.      Charles Moran                  Self        NY          US          PI
1051.      James Moran                    Self        NY          US          PI
1052.      Donald J. Morgan               Self        NY          US          PI
1053.      Russell Morgan                 Self        NY          US          PI
1054.      Steven Mormino                 Self        NY          US          PI
1055.      Stacey Mornan                  Self        AZ          US          PI
1056.      Marcello Morra                 Self        NY          US          PI
1057.      Shawn Morrison                 Self        NY          US          PI
1058.      Khadijah Morrow                Self        NY          US          PI
1059.      Sabine Morrow                  Self        NJ          US          PI
1060.      William Morrow                 Self        NY          US          PI
1061.      Dennis Mosca                   Self        NY          US          PI
1062.      Jeanne Moscardini            Spouse        NJ          US       Solatium
1063.      Thomas Moscardini              Self        NJ          US          PI
1064.      Ellen Moschel                  Self        NJ          US          PI
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1065.      Dorothy Moser, as administrator          PR/Spouse        CT      US, US     WD, Solatium
           of the Estate of Richard Moser
           deceased, and individually
1066.      Elizabeth Motyka                            Self          PA       US             PI
1067.      John Mule                                   Self          FL       US             PI
1068.      Denise Mulholland, as                    PR/Spouse        NY      US, US     WD, Solatium
           administrator of the Estate of
           Douglas Mulholland, deceased,
           and individually
1069.      Joseph Mullaney                             Self          NY          US          PI
1070.      Steven J. Mullins                           Self          NY          US          PI
1071.      Juan Munoz                                  Self          NY          US          PI
1072.      Daniel Murnane                              Self          NY          US          PI
1073.      Lorraine Murphy                           Spouse          NY          US      Solatium
1074.      Thomas Murphy                               Self          NY          US          PI
1075.      Keith Murray                                Self          NY          US          PI
1076.      Deborah Musso                             Spouse          NJ          US      Solatium
1077.      Richard Musso                               Self          NJ          US          PI
1078.      Jennyfer Nagle                            Spouse          NY          US      Solatium
1079.      John Nagle                                  Self          NY          US          PI
1080.      Mansoor Najee-ullah                         Self          NY          US          PI
1081.      Reza Namazi                                 Self          NY          US          PI
1082.      Richard Naples                              Self          FL          US          PI
1083.      Ahmed Nasser                                Self          NY          US          PI
1084.      James Nazzaro                               Self          NJ          US          PI
1085.      Tyrone Neal                                 Self          NY          US          PI
1086.      Carolyn A. Nesmith                          Self          NY          US          PI
1087.      Joseph Nevar                                 Self         NJ       US             PI
1088.      Cherris Newland                            Spouse         NY       US         Solatium
1089.      Leonard Newland                              Self         NY       US             PI
1090.      Harry Neyens                                 Self         NY       US             PI
1091.      Gee W. Ngai                                  Self         NY       US             PI
1092.      Maggie Ngai, as administrator of          PR/Child        NY      US, US     WD, Solatium
           the Estate of Poy King Ngai
           deceased, and individually
1093.      Sheung Fon Ngai                           Spouse          NY       US         Solatium
1094.      Sheung Fon Ngai                             Self          NY       US             PI
1095.      Ndingara N. Ngardingabe                     Self          NY       US             PI
1096.      Julio Nieves                                Self          NY       US             PI
1097.      Ricardo Nieves                              Self          NY       US             PI
1098.      Robert Norrington                           Self          NY       US             PI
1099.      Joseph Nunes                                Self          NY       US             PI
1100.      Humberto Nunez                            Spouse          NY       US         Solatium
1101.      Louis Obergh, Jr., as administrator       PR/Son          NY      US, US     WD, Solatium
           of the Estate of Louis Obergh, Sr.
           deceased, and individually
1102.      Joan Obergh                               Spouse          NY          US       Solatium
1103.      Ellen Ochs                                Spouse          NJ          US       Solatium
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1104.      John Ochs                                  Self          NJ          US          PI
1105.      Catherine O’Connor                       Spouse          NY          US      Solatium
1106.      James O'Connor                             Self          NY          US          PI
1107.      Joseph O'Farrell                           Self          NY          US          PI
1108.      Lorna O'Farrell                            Self          PA          US          PI
1109.      Kenneth Okvist                             Self          NY          US          PI
1110.      David Olaye                                Self          NY          US          PI
1111.      Robert O'Leary                             Self          NY          US          PI
1112.      Bryan O'Malley                             Self          NY          US          PI
1113.      Elizabeth O’Malley                        Spouse         NY       US         Solatium
1114.      John O'Malley                               Self         NY       US             PI
1115.      Timothy O'Neill                             Self         NV       US             PI
1116.      Denis Onieal                                Self         PA       US             PI
1117.      Carol J. Orazem                             Self         NY       US             PI
1118.      Thomas Oreckinto                            Self         NY       US             PI
1119.      Peter Ortega                                Self         VA       US             PI
1120.      Raquel Ortega                             Spouse         VA       US         Solatium
1121.      Victor Ortega                               Self         NY       US             PI
1122.      Evelyn Ortiz                              Spouse         NC       US         Solatium
1123.      Wilfredo Osorio-Hernandez                   Self         NY       US             PI
1124.      Gary Ostrager, as administrator of       PR/Child        NY      US, US     WD, Solatium
           the Estate of Beckie Ostrager,
           deceased, and individually
1125.      Michael Ostrowski, as                    PR/Son          NJ      US, US     WD, Solatium
           administrator of the Estate of
           Elizabeth Ostrowski deceased, and
           individually
1126.      Tadeusz Ostrowski                        Spouse          NJ          US      Solatium
1127.      John O'Sullivan                            Self          NY          US          PI
1128.      Christopher Owen                           Self         NC           US          PI
1129.      Nelson A. Padilla                          Self         NY           US          PI
1130.      Petra Padilla                            Spouse         NY           US      Solatium
1131.      Chris Palmeri                              Self         NY           US          PI
1132.      Rui Qiong Pan                              Self         NY           US          PI
1133.      Judi Panevino                            Spouse          FL          US      Solatium
1134.      Vincent Panevino                           Self          FL          US          PI
1135.      Abel Paniagua                              Self         NM           US          PI
1136.      Alexandra Paniagua                       Spouse         NM           US      Solatium
1137.      Joseph Papariello                          Self         SC           US          PI
1138.      Joseph J. Parise                           Self         NY           US          PI
1139.      Lydia Parise                             Spouse         NY           US      Solatium
1140.      Liliana Parodi                           Spouse         CA           US      Solatium
1141.      Michael Partridge                          Self         NY           US          PI
1142.      Maryanne Paruch                          Spouse          FL       US         Solatium
1143.      Robert B. Paruch                           Self          FL       US             PI
1144.      Erica Pascale, as administrator of      PR/Spouse        NY      US, US     WD, Solatium
           the Estate of Christopher Pascale
           deceased, and individually
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1145.      Robert Pastalove                          Self          NY          US          PI
1146.      Joseph A. Pastorino                       Self          NY          US          PI
1147.      Stephanie Pastorino                     Spouse          NY       US         Solatium
1148.      Paula Patanella, as administrator      PR/Spouse        NY      US, US     WD, Solatium
           of the Estate of Alexander
           Patanella, deceased, and
           individually
1149.      Michael Paternostrao                      Self          CA          US          PI
1150.      Edward Patterson                          Self          NY          US          PI
1151.      Michael Paul                              Self          NY          US          PI
1152.      Lee Pavis                                 Self          NY          US          PI
1153.      Kibbie Payne                              Self          NY          US          PI
1154.      Marc Pedevillano                        Spouse          NJ          US       Solatium
1155.      Zobeida Pedevillano                       Self          NJ          US          PI
1156.      Anthony Pellegrini                        Self          NY          US          PI
1157.      Sandra Pellegrini                       Spouse          NY          US       Solatium
1158.      Patrice Peltier                           Self          NY          US          PI
1159.      Ilene Peluso                            Spouse          NY          US       Solatium
1160.      John Peluso                               Self          NY          US          PI
1161.      Joe Pena                                  Self          CT          US          PI
1162.      Manuel Pena                               Self          NY          US          PI
1163.      Virginia Pena                           Spouse          CT          US       Solatium
1164.      Marianela Penalvert                       Self          PR          US          PI
1165.      Florence Perchuk                        Spouse          CT          US       Solatium
1166.      Neal M. Perchuk                           Self          CT          US          PI
1167.      Manuel Perdomo                            Self          NY          US          PI
1168.      Maurice Pereira                           Self          NY          US          PI
1169.      Bernadette Perez                        Spouse          NY          US       Solatium
1170.      Carlos Perez                              Self          NY          US          PI
1171.      Juan Perez                                Self          NY          US          PI
1172.      Roberto Perez                             Self          NY          US          PI
1173.      Manuela Perez-DeJesus                     Self          NY          US          PI
1174.      Frank Perillo                             Self          NJ          US          PI
1175.      Melanie Perillo                         Spouse          NJ          US       Solatium
1176.      Mitradyal Permaul                         Self          NY          US          PI
1177.      Premuattie Permaul                      Spouse          NY          US       Solatium
1178.      Raakhee Persaud                           Self          FL          US          PI
1179.      Tirkha Persaud                            Self          NY          US          PI
1180.      Rita Peterson                             Self          NJ          US          PI
1181.      Peter Petino                              Self          NJ          US          PI
1182.      Antoinette Petruzzello                  Spouse          NY          US       Solatium
1183.      Arthur Pettus                             Self          FL          US          PI
1184.      Lenor Pettus                            Spouse          FL          US       Solatium
1185.      Cindy Lee Petty                         Spouse          NY          US       Solatium
1186.      James R. Petty                            Self          NY          US          PI
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1187.      Chona Petzold, as administrator of      PR/Spouse        NJ      US, US      WD, Solatium
           the Estate of Mark Petzold.,
           deceased, and individually
1188.      James Phipps                               Self          NY       US              PI
1189.      Joseph M. Pierotti                         Self          NY       US              PI
1190.      Michael Pietropaolo                        Self          NY       US              PI
1191.      Eddie Pinero                               Self          NY       US              PI
1192.      Joseph Pironti                             Self          NY       US              PI
1193.      Kimberly Pironti                         Spouse          NY       US          Solatium
1194.      Ann Pisacano                               Self          NY       US              PI
1195.      Grace Pisano, as administrator of       PR/Spouse        NY      US, US      WD, Solatium
           the Estate of Anthony Pisano, Sr.,
           deceased, and individually
1196.      Peter Pisano                               Self          NY           US          PI
1197.      Giovanni Pisciotta                         Self          NY           US          PI
1198.      Lesley Plaskett                            Self          NY           US          PI
1199.      Linda Plemmons                           Spouse          NJ           US      Solatium
1200.      Robert Plemmons                            Self          NJ           US          PI
1201.      Vincent Plotino                            Self          NY           US          PI
1202.      Adrian Podmore                           Spouse          NY           US      Solatium
1203.      Frank Podmore                              Self          NY           US          PI
1204.      Edward Polstein                            Self          NY           US          PI
1205.      Patricia Polstein                        Spouse          NY           US      Solatium
1206.      Richard Poolt                              Self          NY           US          PI
1207.      William Portela                            Self          NY           US          PI
1208.      Richard Postel                             Self          NY           US          PI
1209.      John Power                                 Self          NY           US          PI
1210.      Rachel Powers, as administrator of      PR/Spouse        NY          US,US   WD, Solatium
           the Estate of Kenneth Powers,
           deceased, and individually
1211.      Anthony Przykuta                           Self          NY       US              PI
1212.      Deborah Przykuta                         Spouse          NY       US          Solatium
1213.      Janet Puglisi-Mizio                        Self          NY       US              PI
1214.      Bruno Pugni                                Self          NY       US              PI
1215.      Antonia Puma                               Self          NJ       US              PI
1216.      Antonia Puma, as administrator of       PR/Spouse        NJ      US, US      WD, Solatium
           the Estate of Pietro Puma,
           deceased, and individually
1217.      Kerri Quigley                              Self          NY           US          PI
1218.      Kevin Quinn                                Self          NY           US          PI
1219.      Paul Quinn                                 Self          NJ           US          PI
1220.      Regina Raab                              Spouse          NY           US       Solatium
1221.      Thomas Raab                                Self          NY           US          PI
1222.      Alejandro Rada                             Self          NY           US          PI
1223.      Peter S. Rahaniotis                        Self          NY           US          PI
1224.      Alfredo Ramirez                          Spouse          FL           US       Solatium
1225.      Carmen Ramirez                             Self          FL           US          PI
1226.      Arthur Rammairone                          Self          NY           US          PI
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1227.      Thomas Rammairone                          Self           NY          US          PI
1228.      Johnny Ramos                               Self           NJ          US          PI
1229.      Migdalia Ramos                             Self           NY          US          PI
1230.      Brian V. Ramsaran                          Self           NY          US          PI
1231.      Nadira Ramsaran                          Spouse           NY       US         Solatium
1232.      Robert Ransom                              Self           DE       US             PI
1233.      Emil Rapoport                              Self           NJ       US             PI
1234.      Adis Raposo, as administrator of        PR/Spouse         NY      US, US     WD, Solatium
           the Estate of Joseph Raposo,
           deceased, and individually
1235.      She-A Gordon, as administrator of       PR/Sibling        NY      US, US     WD, Solatium
           the Estate of Shari Redmond,
           deceased, and individually
1236.      Linda Reed                                 Self           NY       US             PI
1237.      Rhonda Weinman, as                      PR/Sibling        NY      US, US     WD, Solatium
           administrator of the Estate of
           Arnold Reich, deceased, and
           individually
1238.      Adele Reilly                             Spouse           NY       US         Solatium
1239.      Donald J. Reilly                           Self           NY       US             PI
1240.      James Reilly                               Self           NY       US             PI
1241.      Kevin Reilly                               Self           NY       US             PI
1242.      Vasilios Rembutzias                        Self           FL       US             PI
1243.      Lori Cafiero Rende, as                  PR/Spouse         NJ      US, US     WD, Solatium
           administrator of the Estate of
           Mitchell Rende, deceased, and
           individually
1244.      Frank Rescigno                           Spouse           NY       US         Solatium
1245.      Liset Reyes                                Self           NY       US             PI
1246.      Marisela Reyes                             Self           NY       US             PI
1247.      Harriet Reynolds                           Self           NY       US             PI
1248.      Lori Reynolds, as administrator of      PR/Spouse         NY      US, US     WD, Solatium
           the Estate of William Reynolds,
           deceased, and individually
1249.      Thomas Rich                                Self           FL          US          PI
1250.      Deborah Richardson                         Self           NY          US          PI
1251.      Michael G. Riggio                          Self           NY       US             PI
1252.      Nancy Riggio                             Spouse           NY       US         Solatium
1253.      Frank Riley                                Self           NY       US             PI
1254.      Dona L. Riley, as administrator of      PR/Spouse         GA      US, US     WD, Solatium
           the Estate of William Riley,
           deceased, and individually
1255.      Adele Rincon                             Spouse           NJ          US       Solatium
1256.      Rafael Rincon                              Self           NJ          US          PI
1257.      Franklin A. Rivas                          Self           NY          US          PI
1258.      Angela Rivera                              Self           NY          US          PI
1259.      Bruce Rivera                               Self           NY          US          PI
1260.      Ishmael Rivera                             Self           NY          US          PI
1261.      John Rivera                                Self           NY          US          PI
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1262.      Marta Rivera                             Spouse          NY          US      Solatium
1263.      Robert Rivera                              Self          NY          US          PI
1264.      Danielle Rizzo                             Self          SC          US          PI
1265.      Charles Robbins                            Self          NJ          US          PI
1266.      Gerard S. Robedee                          Self          NY       US             PI
1267.      Carol A. Roberson                          Self          NY       US             PI
1268.      Kevin Roberts                              Self          FL       US             PI
1269.      Michael Roberts                            Self          IA       US             PI
1270.      Tracy Cartwright, as administrator      PR/Spouse        NY      US, US     WD, Solatium
           of the Estate of Paul Roberts,
           deceased, and individually
1271.      Desiree Robertson                        Spouse          NY       US         Solatium
1272.      John C. Robertson                          Self          NY       US             PI
1273.      Tracy Robertson, as administrator       PR/Spouse        NY      US, US     WD, Solatium
           of the Estate of Thomas
           Robertson, deceased, and
           individually
1274.      Kenneth Robinson                           Self          NY          US          PI
1275.      Francis Roda                               Self          NJ          US          PI
1276.      Edward Rodden                              Self          NY          US          PI
1277.      Luz Rodgers                                Self          NY          US          PI
1278.      Carmen Rodriguez                           Self          NY          US          PI
1279.      Elaine Rodriguez                           Self          NY          US          PI
1280.      Guisella Rodriguez                         Self          NY          US          PI
1281.      Jason Rodriguez                            Self          NY          US          PI
1282.      Joseph A. Rodriguez                        Self          NJ          US          PI
1283.      Nelson Rodriguez                           Self          NY       US             PI
1284.      Pedro Rodriguez                            Self          FL       US             PI
1285.      Walter Rodriguez                           Self          NY       US             PI
1286.      Walter Rodriguez                         Spouse          NY       US         Solatium
1287.      Julia E. Rodriguez-Rosa                    Self          NY       US             PI
1288.      James Roemer                               Self          NY       US             PI
1289.      Karen Roenelt                              Self          NY       US             PI
1290.      Linda Rogacki, as administrator of      PR/Spouse        PA      US, US     WD, Solatium
           the Estate of Robert Rogacki,
           deceased, and individually
1291.      James Rogers                               Self          NY          US          PI
1292.      John Rogers                               Self           NJ       US             PI
1293.      Wayne Rogers                              Self           NY       US             PI
1294.      Mark Rohan, as administrator of          PR/Son          NY      US, US     WD, Solatium
           the Estate of Patricia Rohan,
           deceased, and individually
1295.      Sandra P. Rojas                            Self          NY          US          PI
1296.      Awilda Roman                               Self          NY          US          PI
1297.      Margarita Roman-Pavis                    Spouse          NY          US       Solatium
1298.      Linda Rosa-Benitez                       Spouse          NJ          US       Solatium
1299.      Luis Rosado                                Self          NY          US          PI
1300.      Mildred Rosado                           Spouse          NY          US       Solatium
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1301.      Miriam Rosado                               Self          NY       US             PI
1302.      Victor Rosado                             Spouse          FL       US         Solatium
1303.      Juana Rosario                               Self          FL       US             PI
1304.      Vilma Rosario                               Self          NY       US             PI
1305.      Edita Rose, as administrator of the      PR/Spouse        NY      US, US     WD, Solatium
           Estate of Leo Rose, deceased, and
           individually
1306.      Dominick Roselli                            Self          NJ          US          PI
1307.      Scot Rosenthal                              Self          NY          US          PI
1308.      Melvin Ross                                 Self          NY          US          PI
1309.      Alia Rotavera                             Spouse          NY          US       Solatium
1310.      Stephen Rotavera                            Self          NY          US          PI
1311.      Jerome Rothman                              Self          NY          US          PI
1312.      Nick Rotondo                                Self          NY          US          PI
1313.      Sally Rotondo                             Spouse          NY          US       Solatium
1314.      Ilene Rubenstein                            Self          NY          US          PI
1315.      Deena Rubin                               Spouse          NJ          US       Solatium
1316.      Robert Rubin                                Self          NJ          US          PI
1317.      Christopher Rueda                           Self          NY          US          PI
1318.      George Ruggi                                Self          NY          US          PI
1319.      Gary Ruinsky                                Self          NY          US          PI
1320.      John Ruis                                   Self          NY          US          PI
1321.      Deborah Ruiz                              Spouse          NV          US       Solatium
1322.      Jorge L. Ruiz                               Self          NV          US          PI
1323.      David G. Russell                            Self          NY          US          PI
1324.      Heather Russell                           Spouse          NY        US         Solatium
1325.      Michael Russell                             Self          NJ        US            PI
1326.      John W. Rutherford                          Self          NY        US            PI
1327.      Suzanne Ryan                              Spouse          FL        US         Solatium
1328.      Thomas Ryan                                 Self          FL        US            PI
1329.      Robert Ryder                                Self          NJ        US            PI
1330.      Ximena Saa                                  Self          NY     Colombia         PI
1331.      Karen Sachs                                 Self          NY        US            PI
1332.      Ann Marie Safaty                          Spouse          NY        US         Solatium
1333.      Ira Safaty                                  Self          NY        US            PI
1334.      Hector Salon                                Self          NJ        US            PI
1335.      Debra Salvia                                Self          NY          US          PI
1336.      Robert Salvia                             Spouse          NY          US       Solatium
1337.      Jeff Salzberg                               Self          NY          US          PI
1338.      Merle Samuels                               Self          NY          US          PI
1339.      Salvatore Sanacore                          Self          NY          US          PI
1340.      Dely Sanchez                              Spouse          NY          US       Solatium
1341.      Ivonne Sanchez                              Self          NY          US          PI
1342.      Vincent Sanchez                             Self          NY          US          PI
1343.      Deborah Sanders                             Self          FL          US          PI
1344.      Camille T. SanFilippo                       Self          NY          US          PI
1345.      James SanFilippo                          Spouse          NY          US       Solatium
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1346.      Mohamed Sanoh                               Self          NY       US             PI
1347.      Mysah Sanoh                               Spouse          NY       US         Solatium
1348.      Christopher Santana                         Self          NY       US             PI
1349.      Denise Santangelo                           Self          NY       US             PI
1350.      Edward Santiago                             Self          NY       US             PI
1351.      Luis R. Santiago                            Self          FL       US             PI
1352.      Jose Santos                                 Self          NY       US             PI
1353.      Ann Saraceno, as administrator of        PR/Spouse        NY      US, US     WD, Solatium
           the Estate of Frank Saraceno,
           deceased, and individually
1354.      Dorothy Sarantopoulos                     Spouse          NY          US       Solatium
1355.      Nicholas Sarantopoulos                      Self          NY          US          PI
1356.      Michael Sarner                              Self          NY       US             PI
1357.      Xiu Xiang Zeng, as administrator of      PR/Spouse        NY      US, US          PI
           the Estate of Su Chung Sat,
           deceased, and individually
1358.      Joseph Savine                               Self          NY          US          PI
1359.      Eugene Scalercio                            Self          NY          US          PI
1360.      Harold Schell                               Self          NY          US          PI
1361.      Jack Schenker                               Self          NY       US             PI
1362.      Ilise Schnurr                             Spouse          NY       US         Solatium
1363.      Lawrence Schnurr                            Self          NY       US             PI
1364.      James Schry                                 Self          NY       US             PI
1365.      James Schry                               Spouse          NY       US         Solatium
1366.      Suzanne Schry                               Self          NY       US             PI
1367.      Suzanne Schry                             Spouse          NY       US         Solatium
1368.      Arthur E Schulz                             Self          CT       US             PI
1369.      Alan Schwab                                 Self          NY       US             PI
1370.      Jeffrey Schwartz                          Spouse          NY       US         Solatium
1371.      Norman Schwartz                             Self          NY       US             PI
1372.      Joan Sciorta                              Spouse          NJ       US         Solatium
1373.      Salvatore Sciorta                           Self          NJ       US             PI
1374.      Vincent Sciulla                             Self          NY       US             PI
1375.      Robert Scott                                Self          NY       US             PI
1376.      Anthony Scotto                              Self          NY       US             PI
1377.      James Screen                                Self          NJ       US             PI
1378.      Amerald Sealey, as administrator         PR/Spouse        GA      US, US     WD, Solatium
           of the Estate of Clyde Sealey,
           deceased, and individually
1379.      Mary Sears                                  Self          NY          US          PI
1380.      John Segreto                                Self          CT          US          PI
1381.      Andreas Seifert                             Self          NY          US          PI
1382.      Drue Seigerman                              Self          NJ          US          PI
1383.      Renee Selan                               Spouse          NY          US       Solatium
1384.      William B. Selan                            Self          NY          US          PI
1385.      Jay Seligman                                Self          VA          US          PI
1386.      Jeannette Shaheen                           Self          PA          US          PI
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1387.      Sarah Shaw                               Self          NC          US          PI
1388.      Denis P. Sheridan                        Self          NY          US          PI
1389.      Kevin Shine                              Self          NY          US          PI
1390.      Jenny Shivmangal                         Self          FL          US          PI
1391.      Eric Shlomovich                          Self          NY          US          PI
1392.      Fai Shum                                 Self          NY          US          PI
1393.      Timothy Silsby                           Self          TX          US          PI
1394.      Ari Silva                                Self          NY          US          PI
1395.      Nancy M. Silvia-Matthews                 Self          NY          US          PI
1396.      Robert Simanowicz                        Self          NJ          US          PI
1397.      Robin Simanowicz                       Spouse          NJ          US      Solatium
1398.      Daniel Simmons                           Self          NY          US          PI
1399.      Kenneth Simmons                          Self          NY          US          PI
1400.      Robert Simonelli                         Self          NV          US          PI
1401.      Nicole B. Simpson                        Self          NJ          US          PI
1402.      Arlene Sinansky                          Self          NY          US          PI
1403.      Bridgnarine Singh                        Self          NY          US          PI
1404.      Janet Singh                              Self          FL          US          PI
1405.      Laura Skov                               Self          CT          US          PI
1406.      Nilda Sleap                            Spouse          FL          US      Solatium
1407.      Thomas Sleap                             Self          FL          US          PI
1408.      David N. Sloan                           Self          NY          US          PI
1409.      Terry A. Small                           Self          FL          US          PI
1410.      Annemarie Smith                          Self          NY          US          PI
1411.      Annemarie Smith                        Spouse          NY          US      Solatium
1412.      Dane Smith                               Self          NC          US          PI
1413.      Diana Smith                            Spouse          NY          US      Solatium
1414.      Edward J. Smith                          Self          NY          US          PI
1415.      Gary J. Smith                            Self          NY          US          PI
1416.      Gerald Smith                             Self          NY          US          PI
1417.      James Smith                              Self          NY          US          PI
1418.      Khadija Smith                          Spouse          NY          US      Solatium
1419.      Lee Smith                                Self          NY          US          PI
1420.      Lee Smith                              Spouse          NY          US      Solatium
1421.      Oralis Smith                             Self          NY          US          PI
1422.      Robert A. Smith                          Self          NY          US          PI
1423.      Susan Smith, as administrator of      PR/Spouse        NJ          US     WD, Solatium
           the Estate of Robert Smith,
           deceased, and individually
1424.      Stephen Smith                            Self          NY          US          PI
1425.      Tim D. Smith                             Self          NY          US          PI
1426.      Warren Smith                             Self          NY          US          PI
1427.      Machele Snipes                           Self          NJ          US          PI
1428.      Rene Sola                                Self          NY          US          PI
1429.      David Solomon                            Self          OR          US          PI
1430.      Robert Soloway                         Spouse          NY          US       Solatium
1431.      Pablo Sosa-Hernandez                     Self          DE          MX          PI
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1432.      Madeline Soto                             Self           NY           US          PI
1433.      Marc Soto                                 Self           FL           US          PI
1434.      Nadine Soto                             Spouse           FL           US      Solatium
1435.      John Sparacio                             Self           NY           US          PI
1436.      Diana Spatola                           Spouse           NY           US      Solatium
1437.      Michael Spatola                           Self           NY           US          PI
1438.      Daniel Speicher                           Self           NY           US          PI
1439.      Thomas W. Speicher                        Self           NY           US          PI
1440.      Carl Speights                             Self           NY           US          PI
1441.      Anthony Sperrazza                         Self           NY           US          PI
1442.      Arlene Sperrazza                        Spouse           NY           US      Solatium
1443.      Anthony Springer                          Self           NY           US          PI
1444.      Edward K. Springer                        Self           NY           US          PI
1445.      Anne Marie Springer-King                  Self           GA           US          PI
1446.      Mark Staniszewski                         Self           NY           US          PI
1447.      Joseph Stefan                             Self           NY           US          PI
1448.      Daniel Stein                              Self           NY           US          PI
1449.      Leon Stein                                Self           NY           US          PI
1450.      Carol Stevens                           Spouse           NY           US      Solatium
1451.      Mark Stevens                              Self           NY           US          PI
1452.      Douglas Stewart                           Self           NY           US          PI
1453.      Timothy Stewart                           Self           NY           US          PI
1454.      Toni Stewart                            Spouse           NY           US      Solatium
1455.      Wayne Stewart                             Self           NY           US          PI
1456.      Robert Stiles                             Self           NY           US          PI
1457.      Glenford Stowe                            Self           NY           US          PI
1458.      Valerie Straughn-Kall                     Self           NY           US          PI
1459.      Joyce Strongbow                           Self           NY           US          PI
1460.      Mark Sturgis, as administrator of       PR/Son           NY          US,US   WD, Solatium
           the Estate of Ingrid Sturgis,
           deceased, and individually
1461.      Donna Suarez                              Self           NJ           US          PI
1462.      Edwin Suarez                              Self           NY           US          PI
1463.      Luis Suarez                               Self           FL           US          PI
1464.      Marisol Suarez                          Spouse           FL           US      Solatium
1465.      Dawn Sulmasy                            Spouse           FL           US      Solatium
1466.      Warren J. Sulmasy, Jr.                    Self           FL           US          PI
1467.      JoAnne Summa                            Spouse           PA           US      Solatium
1468.      Ken Summa                                 Self           PA           US          PI
1469.      Judy Surita                             Spouse           NY           US      Solatium
1470.      Michael Surita                            Self           NY           US          PI
1471.      Marguerite Switzgable, as              PR/Sibling        NJ           US     WD, Solatium
           administrator of the Estate of
           Kimberly Switzgable, deceased,
           and individually
1472.      Robert Szczepanik                         Self           NY           US          PI
1473.      Salvatore Tagliarino                      Self           NY           US          PI
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1474.      Martha Tapia                               Self          NY           US          PI
1475.      Deborah Taylor                             Self          NY           US          PI
1476.      Gregory Taylor                             Self          GA           US          PI
1477.      Ramkrishna Teeluck                         Self          NY           US          PI
1478.      Michael Tenga                              Self          FL           US          PI
1479.      Nelson Tereso                              Self          NY           US          PI
1480.      Deborah Terruso                          Spouse          PA           US      Solatium
1481.      Douglas Terruso                            Self          PA           US          PI
1482.      Jose Theard                                Self          NY           US          PI
1483.      Marie Anne Theard                        Spouse          NY           US      Solatium
1484.      Harold Thomas                              Self          NY           US          PI
1485.      Jesse Thomas                               Self          NY           US          PI
1486.      William Timmes                             Self          NJ           US          PI
1487.      Carmen Torres                            Spouse          NY           US      Solatium
1488.      Yvonne Torres                              Self          FL           US          PI
1489.      Paul Towber                                Self          NY           US          PI
1490.      Susan Trainor, as administrator of      PR/Spouse        NY          US,US   WD, Solatium
           the Estate of William Trainor,
           deceased, and individually
1491.      Miguel Trigueno                          Spouse          NY           US      Solatium
1492.      Myra Trigueno                              Self          NY           US          PI
1493.      James Triola                               Self          NY           US          PI
1494.      Koscuisko Trisano                          Self          NY           US          PI
1495.      Lawrence M. Troy                           Self          NY           US          PI
1496.      George J. Tsistinas                        Self          NY           US          PI
1497.      Joseph Tubolino                            Self          NY           US          PI
1498.      Nancy Tubolino                           Spouse          NY           US      Solatium
1499.      Marion Turi                                Self          NY           US          PI
1500.      Willie Tyler                               Self          NY           US          PI
1501.      Nicholas J. Ugliarolo                      Self          NJ           US          PI
1502.      Roni Unger                                 Self          NY           US          PI
1503.      Augusto Urena                              Self          NJ           US          PI
1504.      Joan Urena                               Spouse          NJ           US      Solatium
1505.      Joseph Valdivia                            Self          DE           US          PI
1506.      Jennifer Valente                         Spouse          NY           US      Solatium
1507.      Michael J. Valente                         Self          NY           US          PI
1508.      Giustino Valenti                           Self          NY           US          PI
1509.      Delma Valera                               Self          NY           US          PI
1510.      Mario Valera                             Spouse          NY           US      Solatium
1511.      Toby Pino, as administrator of the      PR/Spouse        NJ          US,US   WD, Solatium
           Estate of Robert Valinoti,
           deceased, and individually
1512.      Olivier Vallez                             Self          NY           US          PI
1513.      Anthony Vanaria                            Self          NY           US          PI
1514.      Michelle Vanaria                         Spouse          NY           US       Solatium
1515.      Gerard Vanderberg                          Self          NY           US          PI
1516.      Silvana Vanderberg                       Spouse          NY           US       Solatium
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1517.      Nancy VanGoethem                          Spouse          NY           US      Solatium
1518.      John VanWie                                 Self          NY           US          PI
1519.      Hector Vazquez                              Self          FL           US          PI
1520.      Anthony Vega                                Self          NY           US          PI
1521.      Francisco Velasquez                         Self          NY           US          PI
1522.      Rina Velasquez                            Spouse          NY           US      Solatium
1523.      Lisa Velez                                  Self          NY           US          PI
1524.      Fernando Ventura                            Self          NY           US          PI
1525.      Thomas Verni                                Self          NY           US          PI
1526.      Edward Victors                              Self          NY           US          PI
1527.      Anna Vinokur                                Self          NY           US          PI
1528.      Charles Voorhies                            Self          PA           US          PI
1529.      Evelyn Vuoso, as administrator of        PR/Spouse        NY          US,US   WD, Solatium
           the Estate of Joseph Vuoso,
           deceased, and individually
1530.      Willie Wade, as administrator of         PR/Spouse        NJ          US,US        PI
           the Estate of Angela Wade,
           deceased, and individually
1531.      Phyllis Walker                              Self          VA           US          PI
1532.      Fred Wallace                                Self          NY           US          PI
1533.      Steve Wallace                               Self          NY           US          PI
1534.      Edmond Walsh                                Self          NY           US          PI
1535.      Jill Walsh                                Spouse          NY           US      Solatium
1536.      Matthew Walsh                               Self          NY           US          PI
1537.      Sandra Weekes                               Self          NY           US          PI
1538.      Joseph Wehner                               Self          NJ           US          PI
1539.      Deborah Weisenberg                        Spouse          NC           US      Solatium
1540.      Peter Weisenberg                            Self          NC           US          PI
1541.      Christopher Weiss                           Self          NY           US          PI
1542.      Howard Weiswasser                           Self          NY           US          PI
1543.      Candice Wellman                             Self          NY           US          PI
1544.      Glen Wessels                                Self          NJ           US          PI
1545.      Andre White                                 Self          NY           US          PI
1546.      Karen Whitley                               Self         NY        US              PI
1547.      Colleen Wiffler                           Spouse         NY        US          Solatium
1548.      Joseph Wiffler                              Self         NY        US              PI
1549.      Kenneth Wilkinson                           Self         VA        US              PI
1550.      Elliot S. Williams Jr.                      Self         NY        US              PI
1551.      Ezra Williams                               Self         CT        US              PI
1552.      Geary Williams                              Self         DE        US              PI
1553.      Glyndoria Williams                          Self         MD        US              PI
1554.      Frank Williams, as administrator of      PR/Spouse       NY       US, US      WD, Solatium
           the Estate of Ingrid Williams,
           deceased, and individually
1555.      Joseph Williams                             Self          NY           US          PI
1556.      Louis C. Williams                           Self          SC           US          PI
1557.      Richard Williams                            Self          NJ           US          PI
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1558.      Vaughn Williams                             Self          SC       US              PI
1559.      Yvette Williams-Taylor                    Spouse          GA       US          Solatium
1560.      Lisa Wills, as administrator of the         PR            NY      US, US      WD, Solatium
           Estate of Gordon Wills, deceased
1561.      Beverly Wilson                              Self          NY           US          PI
1562.      Elizabeth L. Wilson                         Self          NY           US          PI
1563.      Kyara Wilson                                Self          NY           US          PI
1564.      Martin Wilson                               Self          NY           US          PI
1565.      Mary Wilson                               Spouse          NY           US       Solatium
1566.      Sandra Wilson                               Self          NY           US          PI
1567.      Scott Wilson                                Self          NY           US          PI
1568.      Sonja Wilson                                Self          NJ           US          PI
1569.      Matthew Wingender                           Self          NY           US          PI
1570.      Susan Wingender                           Spouse          NY           US       Solatium
1571.      Dwaine Winter                               Self          NY           US          PI
1572.      Kerry M. Winter                             Self          NY           US          PI
1573.      Nancy Winter                              Spouse          NY           US       Solatium
1574.      Barry Witt                                  Self          NY           US          PI
1575.      Mary Ann Witt                             Spouse          NY           US       Solatium
1576.      Ruth Witt                                 Spouse          NY           US       Solatium
1577.      Shirley Wong                                Self          NY           US          PI
1578.      Barbara Wright                            Spouse          NY           US       Solatium
1579.      Juan Wright                                 Self          NY           US          PI
1580.      Robin Wright                                Self          NY           US          PI
1581.      Suzanne Wright-Ciaccio                      Self          NY           US          PI
1582.      Hoi K. Wu                                   Self          NY           US          PI
1583.      Sze Kit Wu                                  Self          NY           US          PI
1584.      Wendy Wu                                    Self          NY           US          PI
1585.      Shrila Yam, as administrator of the       PR/Child        NY          US,US        PI
           Estate of Wu Kwun Yam,
           deceased, and individually
1586.      Lai Fong Tung Yam                         Spouse         NY            US      Solatium
1587.      Ryan Yanca                                  Self         OH            US          PI
1588.      Hau Ting Yang                               Self         NY            US          PI
1589.      Kwok Yau                                    Self         NY            US          PI
1590.      Nematollah Yazdi                            Self         FL            US          PI
1591.      Sam M. Yen                                  Self          NY           US          PI
1592.      Lup M. Yuen                                 Self          NY           US          PI
1593.      Janet Zakel-Metzler                       Spouse          NY           US      Solatium
1594.      Merite Zejnuni                              Self          NY           US          PI
1595.      May L. Zheng                                Self          NY       US              PI
1596.      Samantha Zhou, as administrator           PR/Child        NY      US, US      WD, Solatium
           of the Estate of Jian Xiang Zhou,
           deceased, and individually
1597.      Samantha Zhou                               Self          NY           US           PI
1598.      Brian Zipf                                  Self          NY           US           PI
1599.      Rosemary Zipf                             Spouse          NY           US       Solatilum
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1600.      Phyllis Zito                   Self        NY          US          PI
1601.      Seth Zukoff                    Self        NJ          US          PI
1602.      Shelly Zukoff                Spouse        NJ          US       Solatium
